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                        Juan F. v. Lamont Exit Plan Status Report
                           April 1, 2019 - September 30, 2019
                           Civil Action No. 2:89 CV 859 (SRU)




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                                           Highlights

This Status Report covers the Second Quarter of 2019 (April-June 2019) and the Third Quarter
of 2019 (July-September 2019). Significant progress has been made with respect to the
remaining 2017 Revised Exit Plan measures that have not been pre-certified. The Court Monitor
has determined that the Outcome Measure 6 (Caseload Standards/Staffing) is pre-certified. The
findings were recently shared with Judge Stefan R. Underhill and the Juan F. parties. Whereas,
previous status reports detailed well over 100 Social Workers over the maximum caseload
standard the Department's efforts have resulted in there currently being only a very small number
of workers in this situation. In addition, a pre-certification review of Outcome Measure 2
(Investigation) is in progress. Preliminary findings of the first 70 cases are encouraging and the
decision was made with the Juan F. parties to continue the Court Monitor's full review of a
sample of approximately 375 cases. Finally, the Department has shown progress over the last
two quarters with specific domains of Outcome Measure 4 (Children's Needs Met) and it appears
that the enhancement of services with documented waitlists that was part of the current budget,
along with continued improvements with assessment and care coordination are having a positive
impact. The number of incidents of unmet needs identified within sampled cases was
considerably reduced from previous quarters. Each of these measures are highlighted below and
discussed are in further detail within the report.

  • The Court Monitor's findings regarding the 2017 Revised Exit Plan Outcome Measures
    indicate the Department has now met and sustained compliance with six of the 10 measures
    during both the Second Quarter 2019 and the Third Quarter 2019. As described above,
    Outcome Measure 6 (Caseload Standards) was met and maintained resulting in pre-
    certification during this period. The summary chart on page 13 provides the automated
    outcome measure performance/percentages. Additional analysis and review of specific
    cases inform the final decisions of the Court Monitor with respect to compliance. Of the
    measures that did not meet the established standards in these two quarters, the most
    significant issues continue to be the Department's investigation practice, case planning
    process, meeting children and families service needs, and appropriate visitation with
    children and required adult family members of the agency's in-home cases.

  • Paragraph 4 of the 2017 Revised Exit Plan mandates that a strategic plan be developed by
    the DCF Commissioner in consultation with the Court Monitor, to address compliance with
    the 2017 Revised Exit Plan Outcome Measures. The plan was drafted and filed with the
    Court on April 26, 2018. The plan outlined specific implementation steps and strategies for
    each of the four (4) measures that had not been pre-certified at that point. The plan is meant
    to be dynamic and it is systemically reviewed by the Department and the Court Monitor's
    Office to identify progress, areas of concern and revisions that are necessary. Updated
    versions of the Strategic Plan have been routinely shared and discussed with the parties.




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  • Outcome Measure 6 (Caseload Standards) is now pre-certified and this is a notable
    achievement for the state and DCF. It has been made possible because of the support from
    Governor Lamont, OPM Secretary Melissa McCaw, and the state legislature. The
    Department has worked diligently to achieve this goal and it is clear that the efforts of the
    DCF Human Resource Division, the DCF Academy for Workforce Development, and
    members of the Central Office and Regional operations have worked in a very coordinated
    manner to make this happen. It already appears from recent monitoring activity that meeting
    this benchmark is now having a positive impact on the family and child related outcome
    measure that remain to be pre-certified. Reasonable caseload sizes and relative stability in
    the workforce allow the Department to better concentrate on the best practice issues so
    important to the outcomes for children and families.
    The improvement began under the previous administration when a predictive staffing model
    was employed. DCF continued its predictive staffing plan of hiring approximately 30 Social
    Workers every month from January to June 2019. During the second half of the calendar
    year, the Department continued to assess their staffing levels, attrition rates and caseload
    levels on a bi-weekly basis. The result of this multi-year effort culminated during the first
    year of Commissioner Dorantes administration with a seven (7) month period of compliance
    with the staffing and caseload levels set forth in the 2017 Revised Exit Plan.

    The Staffing/Caseload summary as of November 2019 is:

       o The average caseload utilization is 74.63%
       o The average includes 67 Social Worker Trainees with low utilization, as they are still
         being trained and working their way up to full caseloads.
       o The Department maintained the standard despite a large rise in reports that
         correspond with the start of the new school year.
       o Considerable caseload management activity has been noted in the Court Monitor's
         review of individual cases and aggregate data.
       o The Department needed 1,089 Social Workers as of November report to be at 75%
         utilization. There were 1,107 Social Workers carrying cases excluding the trainees
         mentioned above.
       o There were 15 vacancies waiting to be filled and 25 Social Workers that had been
         hired but not appearing in LINK yet.
       o Statewide utilization for Intake Social Workers was significantly lowered over the
         course of the two quarters from 75% to just over 50%.
       o Approximately 41% of the Ongoing Services Social Workers are over 80% of the
         caseload standard utilization.
       o The Department has 665 workers assigned to Ongoing Services. The Department
         would need to maintain a minimum of 636 Social Workers to achieve 75%
         utilization.
       o The Department has a typical attrition rate of 120-150 Social Workers annually. The
         Department will need to balance the rate of attrition, the new hires, caseload
         management efforts and the potential of lowered number of cases due to the
         implementation of the new IFCS program.


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    The pre-certification report regarding Outcome Measure 6 (Caseload Standards/Staffing) can
    be found on page 20 of this report.

 • Although the automated reporting has historically indicated that the Department has
   achieved compliance with Outcome Measure 2 (Completion of Investigation), previous
   sampling confirmed that issues existed regarding the quality of investigative work. The
   Department worked to address these issues and beginning in December 2019, the Court
   Monitor began a pre-certification review of recently completed FAR and CPS investigation
   cases. Approximately 375 cases with completed investigations or Family Assessment
   Response during the period of November, December, and January will be reviewed utilizing
   the tool developed and refined over the last year. A temporary stop was instituted after the
   first 70 cases were completed. After analysis of the data was performed the findings were
   shared with the Juan F. parties. The findings were encouraging, and the decision was made
   to continue with the review of the full sample. The period under review (PUR) of the
   review sample corresponds with the timeframe when the revised Structured Decision
   Making (SDM) process and the rollout of individual tablets for the front-line Social Worker
   staff occurred. Clearly, these efforts appear to be making a difference in the quality of the
   work, judging by the results thus far in this and other reviews. The findings from the pre-
   certification review of this measure will be included in the next Status Report.

  • The 2017 Revised Exit Plan provides a framework that focuses on the individual domains
    comprising Outcome Measures 3 (Case Planning) and Outcome Measure 4 (Needs Met).
    The agreement allows the Department to pre-certify for compliance on an individual domain
    basis. By focusing on individual domains, the Department can better identify the many
    strengths in its practice and also work on specific strategies to address ongoing areas of
    concern. The Juan F. Strategic Plan identifies multiple approaches to build on existing
    strengths while addressing known areas needing improvement.

    The 2017 Revised Exit Plan requires the Department to be compliant at 90% for two
    quarters for an individual domain in Outcome Measure 3 (Case Planning). It requires the
    Department to be compliant at 85% for 2 consecutive quarters for an individual domain for
    Outcome Measure 4 (Needs Met).

    Based on the data from this review period of the Outcome Measure 3 (Case Planning) four
    case planning domains have met and sustained the required benchmark:
        • Case Plan Approvals,
        • Accommodating Family/Child's Language Needs,
        • Identifying Information, and
        • Reason for Involvement.

   The findings for Identifying Information and Reason for Involvement dropped slightly during
   this review period but are still considered to be pre-certified.

   The Department continues to struggle with engaging children and families in case planning
   and assessment of the needs of children and families. This in turn impacts the domain
   findings on setting proper goals and action steps as well as reporting on progress in the cases

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   reviewed. This has been reported previously. The summary charts on page 26 regarding the
   attendance at the Administrative Case Reviews (ACR) indicates that adolescents, fathers,
   Guardians ad Litem (GAL), other involved DCF staff, active providers have low attendance
   rates. In fact, no child in placement older than 12 in the Third Quarter sample (Six
   adolescent within the sample) took part in their ACR, two of the seven CIP adolescents in the
   Second Quarter attended the ACR.

   The results from both quarters showed little if any improvement on the most critical domains
   of engagement, assessment, goals/objectives, progress and planning for permanence. Case
   Plans are critical to identifying the progress that has been made and the steps and actions
   required by all parties involved with families. As mentioned in each Status Report, the
   antiquated LINK system presents challenges in assisting staff with ticklers, updates,
   navigating within the plan and prefilling critical information. The Department has created
   additional reports to try to compensate for these shortcomings. Further discussion of
   Outcome Measure 3 findings is found on page 22 with a summary chart of the findings for
   the domains of Outcome Measure 3.

   Based on the data from this review period, six of the 11 Outcome Measure 4 (Needs Met)
   domains maintained an 85% or higher compliance in each of the quarters.

   Previously, the Department currently had met and sustained for an additional quarter the
   following domains:
        • Risk: Child in Placement (July 2018 Status Report)
        • Securing the Permanent Placement (July 2018 Status Report)
        • DCF Case Management - Legal Action to Achieve the Permanency Goal in the Prior
           Six Months (July 2018 Status Report)
        • DCF Case Management - Recruitment for Placement Providers to Achieve
           Permanency Goal during the Prior Six Months (July 2018 Status Report)
        • Child's Current Placement (January 2018 Status Report)
        • Education (January 2018 Status Report)
        • Medical (January 2018 Status Report)

   Some domains have fluctuated in maintenance of the required rates following initial pre-
   certification. In our last report, the Court Monitor noted that the Medical and Educational
   domains, specifically, dropped and remained below 85% rate of compliance and this quarter
   would be reviewed for consideration of removal as pre-certified. The Court Monitor now
   notes that this trend has reversed in the current period under review with Medical Needs met
   at 94.3% and 94.4% respectively and Educational Needs reported trending in the positive
   direction with needs met in 84.3% and 86.3% of the reviewed cases during the consecutive
   quarters of the period under review. Both will remain on the listing for pre-certified
   domains.

   Joining the list of pre-certified domains for the first time is Dental Needs, which were met
   with findings of 86.8% and 87.0% across two quarters of the period under review. The three
   domains with which the Department continues to have the most difficulty are: Risk: In-
   Home, Permanency: DCF Case Management - Contracting or Providing Services to Achieve

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   the Permanency Goal During the Prior Six Months, and Well Being: Mental Health,
   Behavioral Health, and Substance Abuse Services.

   As we have noted consistently in previous status reports, service needs noted via this
   methodology and other review activities which include discussions with staff and
   stakeholders indicate that services that are not readily available in all areas of the state
   consistently. These services often include: outpatient mental health services, in-home
   services, substance abuse services, domestic violence services, mentoring, supportive
   housing vouchers, foster and adoptive resources, and readily available placement/treatment
   options.

   The budget that was passed last year by the legislature and signed by Governor Lamont
   provided additional funding for an array of some of the services that are either not available
   statewide or have demonstrated wait lists. It is important to note that the findings from two
   quarters reviewed for this status report indicate a significant drop in unmet needs from the
   previous findings. The previous status report indicated a total of 452 unmet needs identified
   and this report found 325 for the period of review. The current stable service funding level
   along with the continued efforts to improve care coordination are two of the likely
   foundations in the noted improvement in timely service provision. This review period, the
   top unmet needs were Individual Counseling-Parent, Visitation with Parents, DCF Contact
   with active providers Individual Counseling-Child, and Dental Screening/Evaluation. Client
   refusal remains the top noted reason for unmet need. The chart of unmet priority needs
   beginning on page 32 details the findings for Outcome Measure 4.

 • Outcome Measure 5 (Worker/Child Visitation of In-Home cases) is not able to be tracked or
   analyzed accurately by the current LINK system with respect to the standard of a two visits
   per month with each active member of an in-home case. A previous review of this measure
   to ascertain compliance for pre-certification identified a number of concerns with both the
   quality and quantity of the visits. Until the "CT Kind" LINK replacement system is
   implemented there is no readily viable automated method to evaluate this measure.
   Individual case reviews are required. Thus, the Court Monitor conducted a statistically valid
   sample of in-home cases to establish a benchmark for current practice. Approximately 350
   cases were reviewed to determine the Department's performance in both seeing children and
   families as often as prescribed in their policy and also in a quality manner. A formal report
   was not prepared, but the findings were shared and discussed with Juan F. parties.
   Improvement from the 2012 review was noted but DCF did not achieve compliance with
   required goals. Quality indicators included whether the Department is assessing all identified
   members of the family, speaking with the children alone when possible, appropriate
   documentation of their meetings, addressing the key elements that resulted in reports to the
   Department, correct utilization of SDM to determine risk levels that inform the required
   frequency of visitation, supervision activities and follow up to Social Work Supervisors'
   directives with respect to visitation etc.

   The Court Monitor's Office and DCF will collaborate on ongoing reviews of this measure
   over the next few months to assess the Department's readiness for a formal pre-certification
   review to be conducted.

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 • The Department has continued to work on implementing a new data entry system to replace
   the antiquated LINK system. While the LINK system continues to provide the Department
   with adequate reporting data, it is severely limited and outdated in meeting the Department's
   need for an efficient and streamlined data entry and retrieval. The Department has continued
   to perform a very detailed analysis of each of the primary work components. These LEAN
   efforts which include times studies will eventually address all elements of the Department's
   work as they continue to develop the new CT-Kind system. CT-Kind is expected to reduce
   the time spent by workers compared to LINK by up to 20%. The Department' s steady work
   on this effort has resulted in completion of the Careline portion of the new system and they
   are pivoting to other CPS areas. Work products from Information Systems and CT-Kind
   have also included incorporating the revised SDM tools, developing a Universal Referral
   Form (URF), developing the Kronos Timekeeping and Schedule, and incorporating the Case
   Review System (CRS).

   During the period under review, the Department has provided 1,000 tablets to caseload
   carrying Social Work staff. DCF staff have been hampered in efficiently performing their
   work while out in the field and documenting in a quality manner due to the lack of mobile
   technology. This is being partially addressed by the release and use of the tablets. The
   positive impact will be fully realized once the new CT-Kind is released. Staff can now
   readily access their desk top system when they are away from the office. This means that
   they have remote access to their case files. As mentioned earlier, current review activity
   indicates that the tablets are already making a difference in the quality of the case record
   documentation.

 • The Family First Prevention Services Act (FFPSA) was signed into law as part of the
   Bipartisan Budget Act on February 9, 2018. This act reforms the federal child welfare
   financing streams, Title IV-E and Title IV-B of the Social Security Act, to provide services
   to families who are at risk of entering the child welfare system. The bill aims to prevent
   children from entering foster care by allowing federal reimbursement for mental health
   services, substance use treatment, and in-home parenting skill training. It also seeks to
   improve the well-being of children already in foster care by incentivizing states to reduce
   placement of children in congregate care.

   The Department held the kick-off event for their Family First efforts on November 18, 2019.
   Work groups were established for Candidacy, Programs and Service Array, Kinship and
   Foster Care, Fiscal and Revenue Enhancement, and Community Partnerships, and Family
   and Child Engagement. The timeframe shared at the kick-off indicated that the Department
   will be seeking approval of the plan in October 2020. There is widespread support for the
   philosophy of Family First and keeping children home in the least restrictive environment
   has been the goal for Connecticut for a number of years. Weekly meetings have been held
   since the kick-off. The stakeholder community has embraced the challenge and brought
   considerable energy to the effort this far. Connecticut's previous efforts that greatly reduced
   the use of congregate care and increased kinship care utilization, as well as the existing wide
   array of services already available, puts the Department in a good position to implement the
   plan.


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 • For many years, the Department has utilized Structured Decision Making (SDM) as the
   formal means to assess the safety and risk of families it serves. There are several evidence-
   based tools required to be completed through engagement of the family at various points of
   the Department's intervention. The quality of the Department's assessment activities is a
   major part of the core of the work that is performed and is a key component in achieving the
   remaining Outcome Measures. There was considerable evidence from the Court Monitor's
   previous reviews for Outcome Measures 2 (Investigation), Outcome Measures 3 (Case
   Planning), Outcome Measure 4 (needs Met), and Outcome Measure 5 (In-Home Visitation)
   that the Department's consistency and reliability in using this tool has been an area of
   concern.

   DCF continues to work with the Children's Research Center (CRC) and revised tools rolled
   out in November 2019 along with training and mentoring for staff. During the latter part of
   the 2019 training of the Safety and Risk Assessment with Intake Staff was accomplished.
   Basic SDM data, summary of the Risk Validation Study, and changes to the LINK screens
   were included in the full day of training. The revised Safety and Risk Assessment was
   released in October 2019. The most recent sampling reviews have noted that SDM use in
   Investigation cases is steadily improving although formal SDM assessment and use of the
   tools is not being performed timely or adequately nearly as often in the Ongoing Services
   cases. Documentation often reflects informal assessment does occur in many cases, but
   informal assessment is prone to being influenced by individual bias, varied application of
   relevant standards and is inconsistent across the 14 offices of the agency.

 • The court-ordered 2017 Revised Exit Plan applies to class members who receive placement,
   case management, and services from any successive Connecticut state agencies that provide
   applicable placement, case management, and services to class members. The class includes
   youth who are dually committed (abuse/neglect and delinquent). Dating back to the original
   Consent Decree and throughout the period of the previously governing 2004 Exit Plan (and
   as modified) these youth have been part of monitoring and performance reviews conducted
   by the Court Monitor. All sampling methodologies of individual cases and system wide data
   runs include these youth and the Court Monitor has had full access to DCF staff and records
   if they are selected for review.

   As outlined in the previous status reports, the legislature passed Public Act 17-02 and
   SB1502, transferring juvenile services from DCF to the Judicial Branch (Court Support
   Services Division). The effective transfer occurred in July 2018. Productive discussions
   were held with staff from the Judicial Branch (CSSD) and an agreement was reached on how
   to continue to monitor the small number of Juan F. youth that are now being serviced by
   CSSD. The Court Monitor has been provided with timely access to staff, data, and records
   that are required to report on the Exit Plan performance for those class members serviced by
   CSSD.

 • As indicated in previous Court Monitor Status Reports, DCF was awarded Technical
   Assistance from the Government Performance Lab at Harvard Kennedy of Government in
   July 2017, to help assess their internal screening and referral processes for matching clients
   to services. The implementation effort began with a series of focus groups with almost 1,000

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   staff and providers to elicit their feedback on ways in which DCF could improve their service
   matching for families served by DCF. The focus groups provided a range of technical and
   adaptive recommendations including:
      • assessing our internal screening and referral pathways for redundancies;
      • broadening our staff's understanding of the service array and other services in the
          community;
      • enhancing our service coordination across clinical and non-clinical programs;
      • increasing the appropriateness of our service matches so the right services gets to the
          right client; and
      • taking more proactive approaches to engaging our service providers in data-informed
          contract management.

   The Department launched this "Enhanced Service Coordination (ESC)" model in two of
   DCF's six regions. The model requires a dedicated service coordinator who monitors
   utilization trends and service capacity and coordinates clinical and multidisciplinary consults
   with the Department's clinical teams, social work staff, and providers. The ESC rollout is
   also enabling DCF to capture data to inform real-time decision making, including
   improvements to case practice, additional services available in communities and gaps in the
   service array.

   The goal moving forward was to launch this model statewide. The Department announced
   via memorandum that effective January 13, 2020, they have officially launched the Enhanced
   Service Coordination statewide with new Enhanced Service Coordinators (ESC's) in place in
   each region. While this work has been underway in Regions 5 and 6 since 2017, scaling up
   to the remaining regions has been a work in progress for the past several months. The ESCs
   will be supervised by a Statewide ESC Supervisor, and the Systems Directors in each region
   will serve as a local contact to assist with questions and provide additional support. The ESC
   efforts in Regions 5 and 6 enhanced the use of Regional Resource Group (RRG) staff
   engagement and it is expected that the statewide rollout will encourage similar success in the
   other regions.

   Each Region's ESC will coordinate referrals for IFP (Intensive Family Preservation), PSS
   (Parenting Support Services) programs, RTFT (Reunification and Therapeutic Family Time)
   and Child First. The ESCs will be a support to help staff navigate the vast service array and
   provide guidance, where needed, in identifying services that best meet the needs of our
   families. Staff will continue to use the clinical gatekeepers for other non-clinical services.
   The ESC efforts also include a dashboard to monitor waitlists, utilization, timeliness of
   service referrals and real-time troubleshooting.

   In the coming weeks, the Department will be working on the next steps involving the rollout
   of the automated Universal Referral Form (URF), which will launch for the four service
   types noted above with support from the ESC staff.

 • The Division of Foster Care's report for July-September 2019 indicates that there are 2,172
   licensed DCF foster homes. This is an increase of 54 homes when compared with the
   previous status report. Of the total of 2,172 licensed DCF foster care homes, 796 (36%) are

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   kin/fictive kin families. The number of approved private provider foster care homes
   (Therapeutic Foster Homes) is 771 which is a decrease of 22 homes from the previous status
   report. The number of private provider foster homes currently available for placement is
   104.

   During the previous quarters, the Department and private providers have worked very
   diligently to review and identify a potential new direction for the Specialized Foster Care
   work in Connecticut. This included work by sub-committees compromised of both
   Department and private provider staff. The Court Monitor recently attended a very
   informative and lively presentation and discussion regarding Functional Family Therapy-
   Foster Care. Final decisions and plans will be forthcoming.

 • As of November 2019, the number of children with the goal of Other Planned Permanent
   Living Arrangement (OPPLA) was 136. This is an increase from May 2019, when there
   were 117 children with an OPPLA goal. While this goal is appropriate for some youth, it is
   not a preferred goal due to the lack of formal permanent and stable relationships with an
   identified adult support, be it relative or kin.

 • As of November 2019, there were 82 Juan F. children placed in residential facilities. This is
   a decrease of seven children compared with May 2019. The number of children residing in
   residential care for greater than 12 months was 23 which is the same as reported in May
   2019.


 • The Department continues to focus on the number of Juan F. children residing and receiving
   treatment in out-of-state residential facilities. As of December 2019, there are five (5)
   children in DCF custody residing in out-of-state residential facilities.


 • The number of children age 12 years old or younger in congregate care as of November 2019
   was 15 children, which is four (4) more children than the number reported in May 2019. Of
   the current total, eight (8) are placed in residential care, three (3) children are placed in group
   homes, three (3) are placed in a SFIT and one (1) is in a shelter.

 • As of November 2019, there are no children aged 1 to 5 years of age residing in a congregate
   setting. There are three (3) children placed in medical settings.

 • The number of children utilizing Short-term Family Integrated Treatment (SFIT) has
   increased as the Department has broadened access for referrals from Emergency Mobile
   Psychiatric Service and others. SFIT is a residential crisis-stabilization program for children
   ages 12-17 with a goal of stabilizing a youth and their family, guardian or fictive kin to
   coordinate a reintegration back into the homes. The intended length of stay is 15 days or
   less. Episodes of care include all children served in the S-FIT and these include respites,
   DCF and non–DCF. There was a record number of admissions and discharges during this
   period and that is strong indication of the children moving through the S-FIT system within
   the 15-day timeline. The data for April 2019-September 2019 is found below.


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                   Client Status                         Q4 SFY 2018             Q1 SFY 2019
                                                         Oct.-Dec. 2018          Jan.–March 2019
                   In-Care at Period Start                         44                    49
                   Admitted in Period                             162                   122
                   Discharged in Period                           157                   127

                   Remaining in Care at Period End                  49                      44

                   Episodes Served in Period                       206                      171
                   Distinct Clients Served in Period               193                      164
                  ▪ Data source: PIE

    • There were 8 youth in STAR/Shelter programs as of November 2019. This is 16 less than
      the 24 reported in May 2019. Only one of these youth in STAR programs were in overstay
      status (>60 days) as of November 2019.

    • The Monitor’s quarterly review of the Department for the period of April 1, 2019 through
      September 30, 2019 indicates that the Department has not achieve compliance with four (4)
      measures:
                    • Completion of Investigation1
                    • Case Planning
                    • Children's Needs Met
                    • Worker-Child Visitation In-Home (N/A)2

    A full copy of the Department's Second Quarter 2019 and Third Quarter 2019 submission
    including the Commissioner's Highlights may be found on page 52.




1
  Based on sampling of Differential Response cases over two quarters it has been determined that the quality of the
investigative work (OM 2) is not in compliance with the provisions of the Exit Plan.
2
  Outcome Measure 5 Worker-Child Visitation In-Home - Current automated reporting indicates the measure as
statistically achieved, however this does not accurately reflect performance findings. The Outcome Measure 5 Pre-
Certification Review indicated that compliance is not achieved. While DCF reports are numerically accurate based
upon the algorithms utilized, user error in selection of narrative entry types, and a failure to demonstrate that
workers are meeting the specific steps called for with the definition of 'visit' calls into question the automated report
findings. As such, the Monitor will not indicate achievement of the measure based solely on the current reporting.

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       Juan F. Pre-Certification Review-Status Update (April 1, 2019 - September 30, 2019)

The Department is currently operating under the 2017 Revised Exit Plan, in which the Court Monitor is
required to conduct what the parties and the Court Monitor refer to as a “Certification” reviews as
follows:

       The Defendants must be in compliance with all of the outcome measures, and in
       sustained compliance with all of the outcome measures for at least two quarters (six
       months) prior to asserting compliance and shall maintain compliance through any
       decision to terminate jurisdiction. The Court Monitor shall then conduct a review of a
       statistically significant valid sample of case files at a 96% confidence level, and such
       other measurements as are necessary, to determine whether Defendants are in
       compliance. The Court Monitor shall then present findings and recommendations to the
       District Court. The parties shall have a meaningful opportunity to be heard by the Court
       Monitor before rendering his findings and recommendations.

In recognition of the progress made and sustained by the Department with respect to a number of
Outcome Measures, and the fact that the well-being of the Juan F. class members will be promoted by
the earliest possible identification and resolution of the any quantitative or qualitative problems affecting
class members that may be identified by the review required by Revised Exit Plan (¶5), the parties and
the Court Monitor agree that it is in the best-interests of the Juan F. class members to create a “Pre-
Certification” review process. It is expected that this “pre-certification” process may, in certain
instances, obviate the need to implement the full certification review for certain outcome measures after
sustained compliance is achieved for all Outcome Measures.

The “Pre-Certification” process that parties and the Court Monitor have created, and to which they have
agreed, is as follows:

       If DCF has sustained compliance as required by the Revised Exit Plan for at least two
       consecutive quarters (6 months) for any Outcome Measure (“OM”), the Court Monitor
       may, in his discretion, conduct a “pre-certification review” of that OM (“Pre-Certification
       Review”). The purpose of the Pre-Certification Review is to recognize DCF’s sustained
       improved performance, to identify and provide a prompt and timely opportunity to
       remedy any problem areas that are affecting the well-being of Juan F. class members,
       and to increase the efficiency of DCF’s eventual complete compliance and exit from the
       Consent Decree.

       Other than conducting the Pre-Certification Review earlier than the review mandated by
       Revised Exit Plan (¶5), the Pre-Certification Review will be conducted in accordance
       with the provision for review as described in the Revised Exit Plan (¶5) unless otherwise
       agreed upon by the parties and the Court Monitor.

       If the Pre-Certification Review does not identify any material issues requiring
       remediation, and no assertions of noncompliance with the specific Outcome Measures(s)
       at issue are pending at the time Defendants assert sustained compliance with all Outcome
       Measures, the Parties agree that the full review as per paragraph 5 of the Revised Exit

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       Plan will not be required after the Defendants assert sustained compliance with all
       Outcome Measures. Upon Defendants’ assertion of sustained compliance with all
       Outcome Measures, the parties, with the involvement and consent of the Court Monitor,
       agree to present for the Court’s review, any agreement to conduct less than the full
       review process required by Revised Exit Plan (¶5) for any specific Outcome Measures, as
       a proposed modification of the Revised Exit Plan.

Of the ten remaining Outcome Measures there are five that have not been pre-certified. The status of all
2017 Revised Exit Plan Outcome Measures is found in the table that follows.




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    2017       2006 Outcome        Statement of Outcome                                Status
    Measure    Measure
    OM1        OM1:                At least 90% of all reports3 must be commenced      Pre-Certified November
               Commencement        same calendar day, 24 hours or 72 hours             2018
               of                  depending on the response time designation.
               Investigations
    OM2        OM2:                                                                    Requires assertion of
               Completion of       At least 85% of all reports of alleged child        compliance and Pre-
               Investigation       maltreatment accepted by the DCF Careline shall     Certification
                                   have their investigations completed within 45
                                   calendar days of acceptance by the Careline.

    OM3        OM3:                Except probate, interstate, and subsidy only        Requires assertion of
               Case Plans          cases, appropriate case plans shall be developed    compliance and Pre-
                                   as set forth in the “DCF Court Monitor’s            Certification. See OM3
                                   Protocol for Outcome Measures 3 and 4” and          report to follow for results
                                   the accompanying “Directional Guide for             on individual domains.
                                   Outcome Measures 3 and 4 Reviews” attached          At the time of this
                                   collectively as Appendix B hereto. The              reporting four case
                                   enforceable domains of this Outcome Measure         planning domains are pre-
                                   shall not include the ‘overall score” domain.       certified: Case Plan
                                   The domains in Appendix B for which                 Approvals,
                                   compliance at 90% or better has been met for a      Accommodating
                                   quarter and then sustained for an additional        Family/Child’s Language
                                   quarter as of the date of this 2017 Revised         Needs, Identifying
                                   Exit Plan, shall be considered to have achieved     Information, and Reason
                                   Pre-Certification. Currently, three of the ten      for Involvement.
                                   domains: Case Plan Approval, Family and Child
                                   Language Needs Accommodation, and
                                   Identifying Information have achieved two
                                   quarters of compliance.

                                   For each of domain, once compliance at 90% or
                                   better has been met for a quarter and then
                                   sustained for an additional quarter, that domain
                                   shall also be considered to have achieved Pre-
                                   Certification.
                                   Once all of the domains achieve Pre-
                                   Certification, then Outcome Measure 3 shall be
                                   considered to have achieved Pre-Certification and
                                   subject to the process in Paragraphs 10and 11
                                   hereof as to whether a final review is required
                                   in connection with a request to terminate
                                   jurisdiction over this action




3
    Except Probate and Voluntary cases.

                                                                                                                  16
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 2017         2006          Statement of Outcome                                     Status
 Measure      Outcome
              Measure
 OM4          OM15:
              Needs Met     Families and children shall have their medical,          Requires assertion of
                            dental, mental health, and other service needs met       compliance and Pre-
                            as set forth in the “DCF Court Monitor’s Protocol        Certification. See
                            for Outcome Measures 3 and 4” and the                    OM4 report to follow
                            accompanying “Directional Guide for Outcome              for results on
                            Measures 3 and 4 Reviews”, attached collectively as      individual domains to
                            Appendix B hereto. The enforceable domains of this       date.
                            Outcome Measure shall not include the “all needs
                            met” domain. The domains in Appendix B for               At the time of this
                            which compliance at 85% or better has been met for       reporting six domains
                            a quarter and then sustained for an additional quarter   are pre-certified:
                            as of the date of this 2017 Revised Exit Plan, shall     Risk: Child in
                            be considered to have achieved Pre-Certification.        Placement,
                                                                                     Permanency:
                            Those domains include:
                                                                                     Securing the
                              • Risk: Child-in-Placement
                                                                                     Permanent Placement
                              • Securing the Permanent Placement                     – Action Plan for the
                              • DCF Case Management-Legal action to                  Next Six Months,
                                  achieve the permanency goal in the prior six       Permanency: DCF
                                  months                                             Case Management –
                              • DCF Case Management-Recruitment for                  Recruitment for
                                  placement providers to achieve permanency          Placement Providers
                                  goal during the prior six months                   during the Prior Six
                              • Child’s current placement                            Months, DCF Case
                              • Education                                            Management – Legal
                                                                                     Action to Achieve
                            For each of the remaining domains, once compliance       Permanency in the
                            at 85% or better has been met for a quarter and then     Prior Six Months,
                            sustained for an additional quarter, that domain shall   child’s Current
                            also be considered to have achieved Pre-                 Placement, and Well
                            Certification. The remaining domains include:            Being- Education.
                                • Risk: In-Home
                                                                                     Well-Being: Medical
                                • DCF Case Management - Contracting or               Needs which had
                                     providing services to achieve permanency
                                                                                     previously been
                                     during the prior six months;
                                                                                     deemed pre-certified
                                • Medical needs;                                     had been below the
                                • Dental needs;                                      required 85%
                                • Mental health, behavioral and substance abuse      benchmark in the last
                                     services.                                       three quarters.
                                                                                     During the PUR,
                            Once all of the domains achieve Pre-Certification,       Well-Being/Medical
                            then Outcome Measure 4 shall be considered to            achieved the required
                            have achieved Pre-Certification and subject to the       benchmark and will
                            process in Paragraphs 10 and 11 hereof as to             remain pre-certified.
                            whether a final review is required in connection         DCF achieved pre-
                            with a request to terminate jurisdiction over this       certification of
                            action.                                                  Dental during this
                                                                                     PUR (Second-Third
                                                                                     Quarter 2019).


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 2017         2006          Statement of Outcome                                Status
 Measure      Outcome
              Measure
 OM5          OM 17:        DCF shall visit at least 85% of all in-home         Reviewed, but not Pre-
              Worker-       family cases at least twice a month, except for     Certified
              Child         probate, interstate or voluntary cases.             January 2012
              Visitation    Definitions and Clarifications:
              (In-Home)     1. Twice monthly visitation must be documented
                            with each active child participant in the case.
                            Visitation occurring in the home, school or other
                            community setting will be considered for
                            Outcome Measure 17.
 OM6          OM18:                                                             Pre-certified
              Caseload      The caseload of no DCF social worker shall          January 2020
              Standards     exceed the following caseload standards,
                            with exceptions for emergency reasons on
                            caseloads, lasting no more than 30 days.
                            Additionally, the average caseload of all
                            caseload carrying DCF social workers in each
                            of the following categories shall not exceed
                            0.75 (i.e., 75% utilization) of these maximum
                            caseload standards:
                               A. Investigators shall have no more than 17
                                    investigative cases at any time.
                               B. In-home treatment workers shall have no
                                    more than 15 cases at any time.
                               C. Out-of-home treatment workers shall
                                    have no more than 20 individual
                                    children assigned to them at any time.
                                    This includes voluntary placements.
                               D. Adoption and adolescent specialty
                                    workers shall have no more than 20
                                    cases at any time.
                               E. Probate workers shall have no more than
                                    35 cases at any time. When the probate
                                    or interstate worker is also assigned
                                    to provide services to the family,
                                    those families shall be counted as in-
                                    home treatment cases with a ratio of 1:20
                                    cases.
                               F. Social workers with in-home voluntary
                                    and interstate compact cases shall have
                                    no more than 49 cases at any time.
                               G. A worker with a mixed caseload shall
                                    not exceed the maximum weighted
                                    caseload derived from the caseload
                                    standards in A through F above.




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 2017            2006              Statement of Outcome                                              Status
 Measure         Outcome
                 Measure
 OM7 (to be      OM 5:             No more than 7% of the children who are victims of                Pre-
 maintained)     Repeat            substantiated maltreatment during any six-month period shall      Certified
                 Maltreatment be the substantiated victims of additional maltreatment during         July 2014
                 of Children       any subsequent six-month period. This outcome shall begin to
                                   be measured within the six-month period beginning January 1,
                                   2004.
 OM8 (to be      OM6:              No more than 2% of the children in out of home care on or         Pre-
 maintained)     Maltreatment after January 1, 2004 shall be the victims of substantiated            Certified
                 of Children       maltreatment by substitute caregivers while in out of home        October
                 in Out-of-        care.                                                             2014
                 Home Care
 OM9             OM 11:            Of the children who enter DCF custody, seven (7) percent or       Pre-
                 Re-Entry into fewer shall have re-entered care within 12 months of the prior        Certified
                 DCF Care          out-of-home placement.                                            January
                                                                                                     2016
 OM10            OM 16:            DCF shall visit at least 85% of all out-of-home children at least Pre-
                 Worker/           once a month, except for probate, interstate, or voluntary cases. Certified
                 Child             All children must be seen by their DCF Social Worker at least     April 2012
                 Visitation        quarterly.
                 (Child in
                 Placement)





    Pre-Certification granted subject to verification of correction to ROM system reporting.

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               Pre-Certification of Outcome Measure 6 (Caseload Standards)
The Court Monitor undertook a pre-certification review of Outcome Measure 6 (Caseload
Standards) after the Department’s assertion that they had been compliant for two consecutive
quarters. This measure requires the following:


                           Outcome Measure 6: Caseload Standards
 The caseload of no social worker shall exceed the following caseload standards, with exception
 for emergency reasons on caseloads, lasting no more than 30 days. Additionally, the average
 caseload of all caseload carrying DCF social workers in each of the following categories shall
 not exceed 0.75 (i.e., 75% utilization) of these maximum caseload standards:
     A. Investigators shall have no more than 17 investigative cases at any time
     B. In-Home treatment workers shall have no more than 15 cases at any time.
     C. Out-of-Home treatment workers shall have no more than 20 individual children
        assigned to them at any time. This includes voluntary placements.
     D. Adoption and adolescent specialty workers shall have no more than 20 cases at any
        time.
     E. Probate workers shall have no more than 35 cases at any time. When the probate or
        interstate worker is also assigned to provide services to the family, those families shall
        be counted as in-home treatment cases with a ratio of 1:20 cases.
     F. Social Workers with in-home voluntary and interstate compact cases shall have no more
        than 49 cases at any time.
 A worker with a mixed caseload shall not exceed the maximum weighted caseload derived from
 the caseload standards in A through F above.


Subsequent to the Honorable Judge Stefan R. Underhill entering an order to adopt the 2017
Revised Exit Plan in December of 2017, DCF and the Court Monitor developed a framework for
reporting monthly on this measure. The Department has been providing these reports since that
time, and the Court Monitor has been analyzing and verifying the information on an ongoing
basis. The reporting provides all the relevant data required and separates the findings for Intake
and Ongoing Services.
Over the past year and a half, bridging the previous administration into the current
administration, tremendous progress has been made to address the staffing and caseload
outcomes outlined in the current 2017 Revised Exit Plan. The state moved to a “predictive
hiring model” which accounts for rate of attrition, the need for new hires and caseload
management efforts. From January through June of 2019, monthly hiring blocks of 30 Social
Workers were hired to bring the Department into compliance with this measure.
The Court Monitor deems that Outcome Measure 6 (Caseload Standards) is pre-certified.
The reviewed documentation indicates that for two consecutive quarters the Department has

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maintained the standard of 75% utilization average and significantly lowered the number of staff
exceeding 100% of the maximum standard. The Court Monitor has used a variety of methods to
verify the findings. Besides verifying the information provided each month, staffing reports
were also reviewed on a monthly basis. In addition, interviews with staff at all levels have been
routinely performed since the period beginning with the new 2017 Revised Exit Plan in
December 2017.
As of the verified November report from the Department, the following caseload findings exist:
    •    The average caseload utilization is 74.63%
    •    The average includes 67 Social Worker Trainees with low utilization, as they are still
         being trained and working their way up to full caseloads.
    •    The Department maintained the standard despite a large rise in reports that corresponded
         with the start of the new school year.
    •    Considerable caseload management activity has been noted in the Court Monitor’s
         review of individual cases and aggregate data.
    •    The Department needed 1089 Social Workers as of November report to be at 75%
         utilization. There were 1,107 Social Workers carrying cases excluding the trainees
         mentioned above.
    •    There were 15 vacancies waiting to be filled and 25 Social Workers that had been hired
         but not appearing in LINK yet.
    •    Statewide utilization for Intake Social Workers was significantly lowered over the course
         of the two quarters from 75% to just over 50%.
    •    Approximately 41% of the Ongoing Services Social Workers are over 80% of the
         caseload standard utilization.
    •    The Department has 665 workers assigned to Ongoing Services. The Department would
         need to maintain a minimum of 636 Social Workers to achieve 75% utilization.
    •    The Department has a typical attrition rate of 120-150 Social Workers annually. The
         Department will need to balance the rate of attrition, the new hires, caseload
         management efforts and the potential of lowered number of cases due to the
         implementation of the new IFCS program.
Pre-certification of Outcome Measure 6 (Caseload Standards) is a notable achievement for the
state and DCF. It has been made possible because of the support from Governor Lamont, OPM
Secretary Melissa McCaw, and the state legislature. The Department has worked diligently to
achieve this goal and it is clear that the efforts of the Human Resource Division, the Academy
for Workforce Development, and members of the Central Office and Regional operations have
worked in a very coordinated manner to make this happen. It already appears from recent
monitoring activity that meeting this benchmark is now having an impact on the family and child
related outcome measure that remain to be pre-certified. Reasonable caseload sizes and relative
stability in the workforce allow the Department to better concentrate on the best practice issues
so important to the outcomes for children and families.



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Semi-Annual Status Report of Outcome Measure 3 and Outcome Measure 4 for the Second
                   and Third Quarters of 2019 (April – September)
Outcome Measure 3
This status report reflects the Department’s progress in achieving the 2017 Revised Exit Plan
Outcome Measure 3 and Outcome Measure 4 domain requirements. Outcome Measure 3
requires that
“Except probate, interstate and subsidy only cases, appropriate case plans shall be developed as
set forth in the “DCF Court Monitor’s Protocol for Outcome Measures 3 and 4” and the
accompanying “Directional guide for Outcome Measure 3 and 4 Reviews”. The enforceable
domains of Outcome Measure 3 shall not include the “overall score” domain.”
At the time of agreement there were no Outcome Measure 3 domains qualifying for statewide
precertification. During the last six quarters, the Department has consistently met the
requirement for Supervisory Approval and Accommodation of Language Needs. The domains
Reason for DCF Involvement and Identifying Information, were achieved and maintained during
the reporting period encompassing Fourth Quarter 2019 and First Quarter 2019. While the
findings for these two domains have dropped slightly, these domains remain pre-certified at this
time.
                                                                                                  nd
            Quarterly Statewide Summary of OM3 Domains 2                                                   Quarter 2017 – 3rd Quarter 2019 (Requirement 90.0%)




                                                                                                                                                                                                                                       Upcoming Six Month Period
                                                                                                                                           Family (formerly Strengths,




                                                                                                                                                                                                                                        Action Steps to Achieving




                                                                                                                                                                                                                                                                      Planning for Permanency
                                                                                                                                            Engagement of Child and
                                                              Was the family or child's




                                                                                                                                            Needs and Other Issues)




                                                                                                                                                                                                 Determining the Goals/
                                                                                                                 Identifying Information




                                                                                                                                                                                                                                         Goals Identified for the
                                     Has the Case plan been
                                     approved by the SWS?




                                                                                                                                                                         Assessment to Date of
                                                                                                                                                                         Present Situation and
                                                                 accommodated?
                                                                 language needs



                                                                                          Reason for DCF
                                                                                           Involvement




                                                                                                                                                                                                      Objectives



                                                                                                                                                                                                                            Progress
                 Quarter




                                                                                                                                                                               Review




Total Statewide - 3rd Quarter 2019   92.6%                             92.6%              87.0%               88.9%                                 63.0%                       57.4%            68.5%                    75.5%                 66.7%               88.9%
Total Statewide - 2nd Quarter 2019   92.5%                             92.5%              88.7%               84.9%                                 64.2%                       45.3%            71.7%                    71.2%                 60.4%               75.5%
Total Statewide – 1st Quarter 2019   96.2%                             94.3%              90.6%               92.5%                                 54.7%                       52.8%            67.9%                    75.0%                 66.0%               77.4%
Total Statewide – 4th Quarter 2018   96.2%                             92.5%              96.2%               92.5%                                 64.2%                       47.2%            64.2%                    71.7%                 60.4%               83.0%
Total Statewide – 3rd Quarter 2018   98.1%                             96.3%              83.3%               92.6%                                 55.6%                       57.4%            79.6%                    80.8%                 70.3%               83.3%
Total Statewide – 2nd Quarter 2018   94.3%                             94.3%              81.1%               92.5%                                 54.7%                       50.9%            60.4%                    69.2%                 62.3%               84.9%
Total Statewide - 1st Quarter 2018   84.2%                             81.5%              81.5%               85.2%                                 51.9%                       51.9%            53.7%                    66.7%                 53.7%               74.1%
Total Statewide - 4th Quarter 2017   86.8%                             81.1%              75.5%               81.1%                                 50.9%                       32.1%            58.5%                    62.3%                 52.8%               73.6%
Total Statewide - 3rd Quarter 2017   96.2%                             96.2%              88.6%               92.4%                                 66.0%                       47.2%            62.3%                    64.7%                 56.6%               84.9%
Total Statewide - 2nd Quarter 2017   88.7%                             81.5%              81.1%               79.6%                                 55.6%                       42.6%            66.7%                    67.9%                 66.7%               70.4%

In looking at a more defined view of the data from a regional perspective, it is noted, as in the
past that some regions have had success with achievement of several domains at the 90%
requirement in each quarter. The following two tables reflect findings for each quarter sorted at
the regional level. During the Second Quarter, Region III (Middletown, Norwich and
Willimantic) achieved eight of the measured domains and was able to sustain five of those across
the full reporting period. No region met all ten domains in either quarter.



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                                       Quarterly Regional Summary 2nd Quarter 2019 (Requirement 90.0%)




                                                                                                                   Reason for DCF Involvement




                                                                                                                                                                                                                                                                                                           Upcoming Six Month Period
                                                                                                                                                                                                        Family (formerly Strengths,
                                                                                                                                                                                                         Engagement of Child and




                                                                                                                                                                                                                                                                                                            Action Steps to Achieving




                                                                                                                                                                                                                                                                                                                                                Planning for Permanency
                                                                                                                                                                                                          Needs and Other Issues)
                                                                                Was the family or child's




                                                                                                                                                                   Identifying Information
                                                approved by the SWS?




                                                                                                                                                                                                                                                                                                             Goals Identified for the
                                                Has the Case plan been




                                                                                                                                                                                                                                                                   Determining the Goals/
                                                                                                                                                                                                                                         Assessment to Date of
                                                                                                                                                                                                                                         Present Situation and
                                                                                   accommodated?
                                                                                    language needs




                                                                                                                                                                                                                                                                         Objectives




                                                                                                                                                                                                                                                                                                Progress
                                                                                                                                                                                                                                                Review
                       Region




Region I - 2nd Quarter 2019                     83.3%                                   83.3%                   83.3%                                           83.3%                                            83.3%                         66.7%              83.3%                      66.7%                 66.7%                 83.3%
Region II - 2nd Quarter 2019                    87.5%                                   87.5%                   75.0%                                           75.0%                                            62.5%                         25.0%              37.5%                      50.0%                 37.5%                 62.5%
Region III - 2nd Quarter 2019                  100.0%                               100.0%                      100.0%                                          100.0%                                           70.0%                         50.0%              100.0%                     100.0%                90.0%                 90.0%
Region IV - 2nd Quarter 2019                    90.9%                                   90.9%                   90.9%                                           81.8%                                            63.6%                         54.5%              63.6%                      63.6%                 45.5%                 54.5%
Region V - 2nd Quarter 2019                    100.0%                               100.0%                      90.9%                                           81.8%                                            36.4%                         27.3%              63.6%                      63.6%                 54.5%                 81.8%
Region VI - 2nd Quarter 2019                    85.7%                                   85.7%                   85.7%                                           85.7%                                            85.7%                         57.1%              85.7%                      57.1%                 71.4%                 85.7%
S tatewide - 2nd Quarter 2019 OM3 Results       92.5%                                  92.5%                    88.7%                                           84.9%                                           64.2%                          45.3%              71.7%                      71.2%                 60.4%                 75.5%




                                Quarterly Regional Summary of OM3 Domains 3rd Quarter 2019 (Requirement 90.0%)
                                                                                                                                   Reason for DCF Involvement




                                                                                                                                                                                                                                                                                                           Upcoming Six Month Period
                                                                                                                                                                                                           Family (formerly Strengths,
                                                                                                                                                                                                            Engagement of Child and




                                                                                                                                                                                                                                                                                                            Action Steps to Achieving




                                                                                                                                                                                                                                                                                                                                             Planning for Permanency
                                                                                                                                                                                                             Needs and Other Issues)
                                                                                    Was the family or child's




                                                                                                                                                                              Identifying Information
                                                       approved by the SWS?




                                                                                                                                                                                                                                                                                                             Goals Identified for the
                                                       Has the Case plan been




                                                                                                                                                                                                                                                                    Determining the Goals/
                                                                                                                                                                                                                                          Assessment to Date of
                                                                                                                                                                                                                                          Present Situation and
                                                                                       accommodated?
                                                                                        language needs




                                                                                                                                                                                                                                                                          Objectives




                                                                                                                                                                                                                                                                                                Progress
                                                                                                                                                                                                                                                 Review
Region I - 3rd Quarter 2019                      100.0%                                  100.0%                  100.0%                                         100.0%                                             71.4%                         85.7%             85.7%                      71.4%                71.4%                 85.7%
Region II - 3rd Quarter 2019                          87.5%                                  87.5%                87.5%                                          87.5%                                             37.5%                         25.0%             62.5%                      62.5%                50.0%                 75.0%
Region III - 3rd Quarter 2019                    100.0%                                  100.0%                  100.0%                                         100.0%                                             90.0%                         70.0%             80.0%                      77.8%                80.0%                100.0%
Region IV - 3rd Quarter 2019                          90.0%                                  90.0%                90.0%                                          80.0%                                             50.0%                         60.0%             80.0%                      80.0%                70.0%                 90.0%
Region V - 3rd Quarter 2019                           90.9%                                  90.9%                63.6%                                          81.8%                                             54.5%                         45.5%             36.4%                      72.7%                54.5%                 90.9%
Region VI - 3rd Quarter 2019                          87.5%                                  87.5%                87.5%                                          87.5%                                             75.0%                         62.5%             75.0%                      87.5%                75.0%                 87.5%
Statewide 3rd Quarter 2019 OM3 Results               92.6%                                  92.6%                87.0%                                           88.9%                                             63.0%                         57.4%             68.5%                     75.5%                 66.7%                 88.9%




The full summary documents reflecting data to the individual case level within the area offices
are provided for review below:




                                                                                                                                                                                                                                                                                                                                        23
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Juan F. v. Lamont Exit Plan Status Report
February 2020
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 Second Quarter 2019 Outcome Measure 3: Individual Domain Case Summaries by Office,
                                  Region, State
                                                                                                                                                                                                                             Action Steps to
                What is the                                                   Was the family or                                        Engagement of Child                                                                  Achieving Goals
              social worker's                             Has the Case plan     child's language                                      and Family (formerly Present Situation and                                           Identified for the
                area office   What is the type of case    been approved by                 needs   Reason for DCF         Identifying Strengths, Needs and Assessment to Date       Determining the                     Upcoming Six Month         Planning for
               assignment?        noted in LINK?                  the SWS?     accommodated?         Involvement         Information          Other Issues)           of Review    Goals/Objectives            Progress                Period      Permanency              Overall Score for OM3
              Bridgeport         CPS Child in Placement                yes                  yes        Very Good         Very Good             Very Good             Very Good          Very Good           Very Good             Very Good         Very Good            Appropriate Cas e Plan
              Bridgeport         CPS In-Home Family                    yes                  yes        Very Good         Very Good             Very Good             Very Good          Very Good           Very Good             Very Good         Very Good            Appropriate Cas e Plan
              Bridgeport         CPS In-Home Family                     no                 UTD     Abs ent/Avers e   Abs ent/Avers e      Abs ent/Avers e       Abs ent/Avers e     Abs ent/Avers e     Abs ent/Avers e      Abs ent/Avers e    Abs ent/Avers e   Not an Appropriate Cas e Plan
              Bridgeport         CPS Child in Placement                yes                  yes        Very Good         Very Good             Very Good             Very Good          Very Good           Very Good             Very Good         Very Good            Appropriate Cas e Plan
 Region I     Bridgeport 2nd Quarter 2019                            75.0%               75.0%              75.0%             75.0%                 75.0%                 75.0%              75.0%               75.0%                 75.0%             75.0%                            75.0%
              Norwalk            CPS In-Home Family                    yes                  yes        Very Good         Very Good             Very Good             Very Good          Very Good             Optimal             Very Good         Very Good            Appropriate Cas e Plan
              Norwalk            CPS Child in Placement                yes                  yes        Very Good         Very Good             Very Good              Marginal          Very Good             Marginal             Marginal         Very Good     Not an Appropriate Cas e Plan
              Norwalk 2nd Quarter 2019                              100.0%              100.0%             100.0%            100.0%                100.0%                 50.0%             100.0%               50.0%                 50.0%            100.0%                            50.0%
                         Region I 2nd Quarter 2019                   83.3%               83.3%              83.3%             83.3%                 83.3%                 66.7%              83.3%               66.7%                 66.7%             83.3%                            66.7%
              Milford            CPS In-Home Family                    yes                  yes        Very Good         Very Good             Very Good             Very Good          Very Good           Very Good             Very Good         Very Good            Appropriate Cas e Plan
              Milford            CPS In-Home Family                    yes                  yes        Very Good         Very Good             Very Good              Marginal          Very Good           Very Good             Very Good         Very Good     Not an Appropriate Cas e Plan
              Milford            CPS Child in Placement                yes                  yes        Very Good         Very Good             Very Good              Marginal           Marginal             Marginal             Marginal               Poor    Not an Appropriate Cas e Plan
              Milford            CPS Child in Placement                 no                 UTD     Abs ent/Avers e   Abs ent/Avers e      Abs ent/Avers e       Abs ent/Avers e     Abs ent/Avers e     Abs ent/Avers e      Abs ent/Avers e    Abs ent/Avers e   Not an Appropriate Cas e Plan
              Milford 2nd Quarter 2019                               75.0%               75.0%              75.0%             75.0%                 75.0%                 25.0%              50.0%               50.0%                 50.0%             50.0%                            25.0%
 Region II    New Haven          CPS In-Home Family                    yes                  yes        Very Good          Marginal              Marginal                   Poor          Marginal                 Poor                  Poor         Marginal     Not an Appropriate Cas e Plan
              New Haven          CPS Child in Placement                yes                  yes         Very Good         Very Good            Very Good             Very Good            Marginal           Very Good            Very Good            Optimal             Appropriate Case Plan
              New Haven          CPS In-Home Family                    yes                  yes         Marginal         Very Good              Marginal                   Poor          Marginal                 Poor             Marginal         Very Good     Not an Appropriate Cas e Plan
              New Haven          CPS Child in Placement                yes                  yes        Very Good         Very Good             Very Good              Marginal          Very Good           Very Good              Marginal         Very Good     Not an Appropriate Cas e Plan
              New Haven 2nd Quarter 2019                            100.0%              100.0%              75.0%             75.0%                 50.0%                 25.0%              25.0%               50.0%                 25.0%             75.0%                            25.0%
                         Region II 2nd Quarter 2019                  87.5%               87.5%              75.0%             75.0%                 62.5%                 25.0%              37.5%               50.0%                 37.5%             62.5%                            25.0%
              Middletown         CPS In-Home Family                    yes                  yes         Very Good           Optimal            Very Good              Marginal           Very Good           Very Good            Very Good          Very Good             Appropriate Case Plan
              Middletown         CPS Child in Placement                yes                  yes        Very Good         Very Good             Very Good             Very Good          Very Good           Very Good             Very Good         Very Good            Appropriate Cas e Plan
              Middletown 2nd Quarter 2019                           100.0%              100.0%             100.0%            100.0%                100.0%                 50.0%             100.0%              100.0%               100.0%             100.0%                           100.0%
              Norwich            CPS In-Home Family                    yes                  yes          Optimal         Very Good             Very Good             Very Good            Optimal           Very Good               Optimal         Very Good            Appropriate Cas e Plan
              Norwich            CPS In-Home Family                    yes                  yes        Very Good         Very Good             Very Good              Marginal          Very Good           Very Good              Marginal         Very Good     Not an Appropriate Cas e Plan
              Norwich            CPS Child in Placement                yes                  yes         Very Good         Very Good            Very Good              Marginal           Very Good           Very Good            Very Good          Very Good             Appropriate Case Plan
              Norwich            CPS In-Home Family                    yes                  yes        Very Good         Very Good              Marginal              Marginal          Very Good           Very Good             Very Good          Marginal     Not an Appropriate Cas e Plan
 Region III
              Norwich            CPS Child in Placement                yes                  yes         Very Good         Very Good              Marginal            Very Good           Very Good           Very Good            Very Good          Very Good             Appropriate Case Plan
              Norwich 2nd Quarter 2019                              100.0%              100.0%             100.0%            100.0%                 60.0%                 40.0%             100.0%              100.0%                 80.0%             80.0%                            60.0%
              Willimantic        CPS In-Home Family                    yes                  yes        Very Good         Very Good              Marginal              Marginal          Very Good           Very Good             Very Good         Very Good     Not an Appropriate Cas e Plan
              Willimantic        CPS Child in Placement                yes                  yes          Optimal         Very Good               Optimal             Very Good            Optimal             Optimal             Very Good           Optimal            Appropriate Cas e Plan
              Willimantic        CPS In-Home Family                    yes                  yes        Very Good         Very Good             Very Good             Very Good          Very Good           Very Good             Very Good         Very Good            Appropriate Cas e Plan
              Willimantic 2nd Quarter 2019                          100.0%              100.0%             100.0%            100.0%                 66.7%                 66.7%             100.0%              100.0%               100.0%             100.0%                            66.7%
                         Region III 2nd Quarter 2019                100.0%              100.0%             100.0%            100.0%                 70.0%                 50.0%             100.0%              100.0%                 90.0%             90.0%                            70.0%
              Hartford           CPS In-Home Family                    yes                  yes          Optimal         Very Good             Very Good             Very Good          Very Good           Very Good             Very Good         Very Good            Appropriate Cas e Plan
              Hartford           CPS Child in Placement                yes                  yes         Very Good         Very Good            Very Good             Very Good           Very Good           Very Good             Marginal          Very Good             Appropriate Case Plan
              Hartford           CPS In-Home Family                    yes                  yes        Very Good         Very Good             Very Good              Marginal           Marginal     Too early to note            Marginal         Very Good     Not an Appropriate Cas e Plan
                                                                                                                                                                                                              progres s
              Hartford           CPS In-Home Family                    yes                  yes        Very Good         Very Good              Marginal              Marginal           Marginal             Marginal             Marginal          Marginal     Not an Appropriate Cas e Plan
              Hartford           CPS Child in Placement                yes                  yes        Very Good         Very Good              Marginal             Very Good          Very Good           Very Good             Very Good          Marginal     Not an Appropriate Cas e Plan
              Hartford           CPS In-Home Family                    yes                  yes         Very Good         Very Good              Marginal            Very Good           Very Good           Very Good            Very Good          Very Good             Appropriate Case Plan

 Region IV Hartford       CPS Child in Placement                       yes                  yes        Very Good         Very Good             Very Good              Marginal           Marginal           Very Good              Marginal          Marginal     Not an Appropriate Cas e Plan
           Hartford 2nd Quarter 2019                                100.0%              100.0%             100.0%            100.0%                 57.1%                 57.1%              57.1%               83.3%                 42.9%             57.1%                            42.9%
              Manches ter        CPS In-Home Family                    yes                  yes        Very Good           Optimal             Very Good               Optimal          Very Good             Optimal             Very Good         Very Good            Appropriate Cas e Plan
              Manches ter        CPS In-Home Family                    yes                  yes        Very Good          Marginal             Very Good              Marginal          Very Good             Marginal             Marginal          Marginal     Not an Appropriate Cas e Plan
              Manches ter        CPS Child in Placement                 no                 UTD     Abs ent/Avers e   Abs ent/Avers e      Abs ent/Avers e       Abs ent/Avers e     Abs ent/Avers e     Abs ent/Avers e      Abs ent/Avers e    Abs ent/Avers e   Not an Appropriate Cas e Plan
              Manches ter        CPS Child in Placement                yes                  yes        Very Good         Very Good             Very Good             Very Good          Very Good           Very Good             Very Good         Very Good            Appropriate Cas e Plan
              Manchester 2nd Quarter 2019                            75.0%               75.0%              75.0%             50.0%                 75.0%                 50.0%              75.0%               50.0%                 50.0%             50.0%                            50.0%
                         Region IV 2nd quarter 2019                  90.9%               90.9%              90.9%             81.8%                 63.6%                 54.5%              63.6%               63.6%                 45.5%             54.5%                            45.5%
              Danbury            CPS Child in Placement                yes                  yes        Very Good         Very Good             Very Good              Marginal            Optimal           Very Good             Very Good         Very Good     Not an Appropriate Cas e Plan
              Danbury            CPS In-Home Family                    yes                  yes        Very Good         Very Good              Marginal              Marginal          Very Good           Very Good             Very Good         Very Good     Not an Appropriate Cas e Plan
              Danbury 2nd Quarter 2019                            100.0%               100.0%            100.0%            100.0%                  50.0%                  0.0%            100.0%               100.0%               100.0%            100.0%                              0.0%
              Torrington         CPS Child in Placement                yes                  yes        Very Good         Very Good              Marginal              Marginal          Very Good             Marginal             Marginal          Marginal     Not an Appropriate Cas e Plan
              Torrington         CPS In-Home Family                    yes                  yes          Optimal         Very Good              Marginal             Very Good            Optimal           Very Good               Optimal         Very Good            Appropriate Cas e Plan
              Torrington 2nd Quarter 2019                           100.0%              100.0%             100.0%            100.0%                  0.0%                 50.0%             100.0%               50.0%                 50.0%             50.0%                            50.0%
              Waterbury          CPS Child in Placement                yes                  yes        Very Good         Very Good             Very Good              Marginal           Marginal             Marginal             Marginal          Marginal     Not an Appropriate Cas e Plan
 Region V     Waterbury          CPS Child in Placement                yes                  yes          Optimal           Optimal               Optimal             Very Good            Optimal             Marginal            Very Good           Optimal            Appropriate Cas e Plan
              Waterbury          CPS In-Home Family                    yes                  yes          Optimal         Very Good              Marginal              Marginal           Marginal           Very Good             Very Good         Very Good     Not an Appropriate Cas e Plan
              Waterbury          CPS In-Home Family                    yes                  yes         Marginal          Marginal              Marginal              Marginal          Very Good           Very Good              Marginal         Very Good     Not an Appropriate Cas e Plan
              Waterbury          CPS In-Home Family                    yes                  yes        Very Good         Very Good             Very Good             Very Good          Very Good           Very Good             Very Good         Very Good            Appropriate Cas e Plan
              Waterbury          CPS In-Home Family                    yes                  yes        Very Good          Marginal              Marginal              Marginal           Marginal             Marginal             Marginal         Very Good     Not an Appropriate Cas e Plan
              Waterbury          CPS Child in Placement                yes                  yes        Very Good         Very Good              Marginal              Marginal           Marginal           Very Good              Marginal         Very Good     Not an Appropriate Cas e Plan
              Waterbury 2nd Quarter 2019                            100.0%              100.0%              85.7%             71.4%                 42.9%                 28.6%              42.9%               57.1%                 42.9%             85.7%                            28.6%
                         Region V 2nd Quarter 2019                  100.0%              100.0%              90.9%             81.8%                 36.4%                 27.3%              63.6%               63.6%                 54.5%             81.8%                            27.3%
              Meriden            CPS In-Home Family                    yes                  yes        Very Good         Very Good             Very Good              Marginal          Very Good             Marginal             Marginal         Very Good     Not an Appropriate Cas e Plan
              Meriden            CPS Child in Placement                yes                  yes        Very Good         Very Good             Very Good             Very Good          Very Good           Very Good             Very Good         Very Good            Appropriate Cas e Plan
              Meriden 2nd Quarter 2019                              100.0%              100.0%             100.0%            100.0%                100.0%                 50.0%             100.0%               50.0%                 50.0%            100.0%                            50.0%
              New Britain        CPS Child in Placement                 no                 UTD     Abs ent/Avers e   Abs ent/Avers e      Abs ent/Avers e       Abs ent/Avers e     Abs ent/Avers e     Abs ent/Avers e      Abs ent/Avers e    Abs ent/Avers e   Not an Appropriate Cas e Plan
              New Britain        CPS In-Home Family                    yes                  yes        Very Good         Very Good             Very Good             Very Good          Very Good           Very Good             Very Good         Very Good            Appropriate Cas e Plan
 Region VI
              New Britain        CPS In-Home Family                    yes                  yes        Very Good           Optimal             Very Good             Very Good          Very Good           Very Good             Very Good         Very Good            Appropriate Cas e Plan
              New Britain        CPS Child in Placement                yes                  yes        Very Good         Very Good             Very Good             Very Good          Very Good             Optimal             Very Good         Very Good            Appropriate Cas e Plan
              New Britain        CPS In-Home Family                    yes                  yes         Very Good         Very Good            Very Good              Marginal           Very Good           Very Good            Very Good          Very Good             Appropriate Case Plan
              New Britain 2nd Quarter 2019                           80.0%               80.0%              80.0%             80.0%                 80.0%                 60.0%              80.0%               80.0%                 80.0%             80.0%                            80.0%
                        Region VI 2nd Quarter 2019                   85.7%               85.7%              85.7%             85.7%                 85.7%                 57.1%              85.7%               57.1%                 71.4%             85.7%                            71.4%
Total             Statewide 2nd Quarter 2019                         92.5%               92.5%              88.7%             84.9%                 64.2%                 45.3%              71.7%               71.2%                 60.4%             75.5%                            49.1%




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   Third Quarter 2019 Outcome Measure 3: Individual Domain Case Summaries by Office,
                                    Region, State
                                                                                                                                                                                                                Action S teps to
                                                              Has the                                                            Engagement of                                                                  Achieving Goals
                                                            treatment       Was the family or                                   Child and Family                   Present                                       Identified for
               What is the social    What is the type of    plan been       child's language       Reason for                        (formerly                 S ituation and      Determining                   the Upcoming
              worker's area office assignment noted in     approved by      needs                     DCF         Identifying   S trengths, Needs             Assessment to         the Goals/                     S ix Month             Planning for
                  assignment?              LINK?            the S WS ?      accommodated?         Involvement    Information    and Other Issues)             Date of Review        Objectives     Progress           Period              Permanency           Overall S core for OM3
Region I      Bridgeport           CPS CIP                yes               yes                  Very Good      Very Good      M arginal                      Very Good           Very Good     M arginal       M arginal                M arginal         Not an Appropriate Case Plan
Region I      Bridgeport           CPS CIP                yes               yes                  Very Good      Very Good      Very Good                      Very Good           Very Good     Very Good       Very Good                Very Good         Appropriate Case Plan
Region I      Bridgeport           CPS In-Home Family     yes               yes                  Optimal        Very Good      Very Good                      Very Good           Very Good     Very Good       Very Good                Very Good         Appropriate Case Plan
Region I      Bridgeport           CPS In-Home Family     yes               yes                  Very Good      Very Good      Very Good                      Very Good           Very Good     Very Good       Very Good                Optimal           Appropriate Case Plan
                              Bridgeport 3rd Quarter 2019        100.0%                 100.0%           100.0%         100.0%               75.0%                      100.0%           100.0%           75.0%            75.0%                   75.0%                             75.0%
Region I      Norwalk             CPS In-Home Family     yes                yes              Very Good      Very Good     Very Good                         M arginal       Very Good       Very Good       Very Good       Very Good     Not an Appropriate Case Plan
Region I      Norwalk             CPS CIP                yes                yes              Optimal        Very Good     Very Good                         Very Good       Very Good       Optimal         Very Good       Very Good     Appropriate Case Plan
Region I      Norwalk             CPS In-Home Family     yes                yes              Very Good      Very Good     M arginal                         Very Good       M arginal       M arginal       M arginal       Very Good     Not an Appropriate Case Plan
                                Norwalk 3rd Quarter 2019          100.0%              100.0%         100.0%        100.0%                             66.7%           66.7%           66.7%           66.7%           66.7%        100.0%                           33.3%
             Region I OM3 3rd Quarter 2019                        100.0%              100.0%            100.0%        100.0%                          71.4%               85.7%           85.7%         71.4%           71.4%         85.7%                           57.1%
Region II    M ilford            Services Post M ajority    yes             yes                  Very Good     Very Good     Very Good                        M arginal           Very Good     Very Good     Very Good       Very Good     Not an Appropriate Case Plan
                                 Child-in-Placement
Region II    M ilford            CPS In-Home Family         no              UTD              Absent/Averse Absent/Averse Absent/Averse       Absent/Averse Absent/Averse Absent/Averse Absent/Averse       Absent/Averse Not an Appropriate Case Plan
Region II    M ilford            CPS CIP                    yes             yes              Very Good     Very Good     M arginal           M arginal       M arginal       Very Good     M arginal       Very Good     Not an Appropriate Case Plan
Region II    M ilford            CPS In-Home Family         yes             yes              Very Good     Very Good     Very Good           Very Good       Very Good       Very Good     Very Good       Very Good     Appropriate Case Plan
                               Milford 3rd Quarter 2019           75.0%                75.0%         75.0%         75.0%               50.0%           25.0%           50.0%         75.0%           50.0%         75.0%                           25.0%
Region II     New Haven           CPS CIP                   yes             yes                  Very   Good        Very   Good       M arginal             M arginal             Very Good         M arginal         Very Good         Very Good          Not an Appropriate Case Plan
Region II     New Haven           CPS CIP                   yes             yes                  Very   Good        Very   Good       M arginal             M arginal             Very Good         Very Good         M arginal         M arginal          Not an Appropriate Case Plan
Region II     New Haven           CPS In-Home Family        yes             yes                  Very   Good        Very   Good       M arginal             M arginal             M arginal         M arginal         M arginal         Very Good          Not an Appropriate Case Plan
Region II     New Haven           CPS In-Home Family        yes             yes                  Very   Good        Very   Good       Very Good             Very Good             Very Good         Very Good         Very Good         Very Good          Appropriate Case Plan
                              New Haven 3rd Quarter 2019          100.0%              100.0%              100.0%             100.0%                   25.0%           25.0%                 75.0%             50.0%               50.0%           75.0%                              25.0%
             Region II OM3 3rd Quarter 2019                       87.5%                87.5%               87.5%            87.5%                     37.5%            25.0%         62.5%         62.5%           50.0%         75.0%                                              25.0%
Region III    M iddletown        Services Post M ajority    yes             yes                  Optimal            Very Good     Very Good                   Very Good      Very Good     Optimal       Very Good       Optimal       Appropriate Case Plan
                                 Child-in-Placement
Region III    M iddletown        CPS In-Home Family         yes             yes                  Very Good          Very Good         Very Good               M arginal           Very Good         Too early to   Very Good      Very Good     Appropriate Case Plan
                                                                                                                                                                                                    note progress
                             Middletown 3rd Quarter 2019          100.0%              100.0%               100.0%            100.0%               100.0%                  50.0%          100.0%             100.0%         100.0%        100.0%                                    100.0%
Region III    Norwich              CPS CIP                  yes             yes                  Very   Good        Very   Good       M arginal             Very Good             Very Good         M arginal         Very Good         Very Good          Not an Appropriate Case Plan
Region III    Norwich              CPS In-Home Family       yes             yes                  Very   Good        Very   Good       Very Good             M arginal             Very Good         Very Good         M arginal         Very Good          Not an Appropriate Case Plan
Region III    Norwich              CPS CIP                  yes             yes                  Very   Good        Very   Good       Very Good             Very Good             Very Good         Very Good         Very Good         Very Good          Appropriate Case Plan
Region III    Norwich              CPS CIP                  yes             yes                  Very   Good        Very   Good       Optimal               Very Good             Optimal           Optimal           Very Good         Optimal            Appropriate Case Plan
Region III    Norwich              CPS In-Home Family       yes             yes                  Very   Good        Very   Good       Very Good             M arginal             Poor              M arginal         Poor              Very Good          Not an Appropriate Case Plan
                                 Norwich 3rd Quarter 2019         100.0%              100.0%              100.0%             100.0%                   80.0%           60.0%               80.0%               60.0%               60.0%         100.0%                               40.0%
Region III    Willimantic          CPS In-Home Family     yes               yes              Very Good      Very Good     Very Good                      Very Good      M arginal       Very Good     Very Good      Very Good     Not an Appropriate Case Plan
Region III    Willimantic          CPS CIP                yes               yes              Optimal        Very Good     Optimal                        Very Good      Optimal         Very Good     Optimal        Very Good     Appropriate Case Plan
Region III    Willimantic          CPS CIP                yes               yes              Very Good      Very Good     Very Good                      Very Good      Optimal         Very Good     Very Good      Very Good     Appropriate Case Plan
                             Willimantic 3rd Quarter 2019         100.0%              100.0%         100.0%        100.0%                         100.0%         100.0%           66.6%        100.0%         100.0%        100.0%                           66.7%
             Region III OM3 3rd Quarter 2019                      100.0%              100.0%         100.0%                  100.0%                   90.0%           70.0%                 80.0%           77.8%               80.0%            100.0%                              60.0%
Region IV     Hartford            CPS CIP                   yes             yes              Optimal                Very Good         Optimal               Very Good             Very Good         Optimal           Very Good          Optimal           Appropriate Case Plan
Region IV     Hartford            CPS In-Home Family        yes             yes              Very Good              M arginal         Poor                  M arginal             Very Good         Very Good         Very Good          Very Good         Not an Appropriate Case Plan
Region IV     Hartford            CPS In-Home Family        yes             yes              Very Good              Very Good         M arginal             Very Good             Very Good         Very Good         Very Good          Very Good         Appropriate Case Plan
Region IV     Hartford            CPS In-Home Family        yes             yes              Optimal                Very Good         Very Good             Very Good             M arginal         Very Good         M arginal          Very Good         Not an Appropriate Case Plan
Region IV     Hartford            CPS CIP                   no              UTD              Absent/Averse          Absent/Averse     Absent/Averse         Absent/Averse         Absent/Averse     Absent/Averse     Absent/Averse      Absent/Averse     Not an Appropriate Case Plan
Region IV     Hartford            CPS CIP                   yes             yes              Very Good              Very Good         Very Good             M arginal             Very Good         Very Good         M arginal          Very Good         Not an Appropriate Case Plan
                                Hartford 3rd Quarter 2019         83.3%                83.3%          83.3%                   66.7%                   50.0%           50.0%                 66.7%           83.3%               50.0%             83.3%                              33.3%
Region IV     M anchester        CPS CIP                    yes             yes                  Very Good          Very Good         M arginal               Very Good           Very Good         Very Good         Very Good          Very Good         Appropriate Case Plan
Region IV     M anchester        CPS In-Home Family         yes             yes                  Very Good          Optimal           Very Good               Very Good           Optimal           Very Good         Very Good          Very Good         Appropriate Case Plan
Region IV     M anchester        CPS In-Home Family         yes             yes                  Very Good          Very Good         M arginal               Very Good           Very Good         Very Good         Very Good          Very Good         Appropriate Case Plan
Region IV     M anchester        CPS CIP                    yes             yes                  Very Good          Very Good         Very Good               M arginal           Very Good         M arginal         Very Good          Very Good         Not an Appropriate Case Plan
                            Manchester 3rd Quarter 2019           100.0%              100.0%              100.0%             100.0%                   50.0%              75.0%            100.0%              75.0%             100.0%           100.0%                              75.0%
             Region IV OM3 3rd Quarter 2019                        90.0%               90.0%               90.0%              80.0%                   50.0%              60.0%              80.0%             80.0%              70.0%            90.0%                              50.0%
Region V      Danbury            CPS CIP                    yes             yes                  Very Good          Very Good         M arginal               Very Good           M arginal         Very Good         Very Good          Very Good         Not an Appropriate Case Plan
Region V      Danbury            CPS In-Home Family         yes             yes                  M arginal          M arginal         M arginal               M arginal           M arginal         M arginal         Very Good          Very Good         Not an Appropriate Case Plan
                               Danbury 3rd Quarter 2019           100.0%              100.0%               50.0%              50.0%                    0.0%              50.0%               0.0%             50.0%             100.0%           100.0%                                0.0%
Region V      Torrington         CPS In-Home Family         yes             yes                  Very Good          Very Good         Very Good               M arginal           Very Good         Very Good         Very Good          Very Good         Appropriate Case Plan
Region V      Torrington         CPS CIP                    yes             yes                  Very Good          Very Good         Very Good               Very Good           Very Good         Very Good         Very Good          Very Good         Appropriate Case Plan
                            Torrington 3rd Quarter 2019            100%                 100%                100%               100%                   100%                 50%              100%               100%               100%             100%                               100%
Region V      Waterbury          CPS In-Home Family         yes             yes                  Very Good          Very Good         Very Good               M arginal           M arginal         M arginal         M arginal          Very Good         Not an Appropriate Case Plan
Region V      Waterbury          CPS In-Home Family         yes             yes                  M arginal          Very Good         Very Good               Very Good           M arginal         Very Good         M arginal          Very Good         Not an Appropriate Case Plan
Region V      Waterbury          CPS CIP                    yes             yes                  Very Good          Very Good         Very Good               M arginal           M arginal         Very Good         M arginal          Very Good         Not an Appropriate Case Plan
Region V      Waterbury          CPS In-Home Family         yes             yes                  Very Good          Very Good         Very Good               Very Good           Very Good         Very Good         Very Good          Very Good         Appropriate Case Plan
Region V      Waterbury          CPS CIP                    yes             yes                  Very Good          Very Good         M arginal               Very Good           Very Good         Very Good         Very Good          Optimal           Appropriate Case Plan
Region V      Waterbury          CPS CIP                    yes             yes                  M arginal          Very Good         M arginal               M arginal           M arginal         Very Good         M arginal          Very Good         Not an Appropriate Case Plan
Region V      Waterbury          CPS In-Home Family         no              UTD                  Absent/Averse      Absent/Averse     Absent/Averse           Absent/Averse       Absent/Averse     Absent/Averse     Absent/Averse      Absent/Averse     Not an Appropriate Case Plan
                             Waterbury 3rd Quarter 2019           85.7%                85.7%               57.1%              85.7%                   57.1%              42.9%              28.6%             71.4%              28.6%            85.7%                              28.6%
             Region V OM3 3rd Quarter 2019                        90.9%                90.9%               63.6%              81.8%                   54.5%              45.5%              36.4%             72.7%              54.5%            90.9%                              36.4%
Region VI     M eriden           CPS CIP                    yes             yes                  Optimal            Very Good         Very Good               Very Good           Very Good         Very Good         Very Good          Very Good         Appropriate Case Plan
Region VI     M eriden           CPS In-Home Family         yes             yes                  Very Good          Very Good         M arginal               Very Good           M arginal         Very Good         Very Good          Very Good         Appropriate Case Plan
                               Meriden 3rd Quarter 2019            100.0%             100.0%              100.0%             100.0%                   50.0%             100.0%              50.0%            100.0%             100.0%           100.0%                             100.0%
Region VI     New Britain        CPS In-Home Family        UTD - No         UTD - No Plan        Absent/Averse      Absent/Averse     Absent/Averse           Absent/Averse       Absent/Averse     Absent/Averse     Absent/Averse      Absent/Averse     Not an Appropriate Case Plan
                                                           plan less than
                                                           7 months old
Region VI      New Britain         CPS In-Home Family      yes              yes              Very Good              Very   Good       Very Good             M arginal             Very Good         Very   Good       M arginal         Very Good          Not an Appropriate Case Plan
Region VI      New Britain         CPS CIP                 yes              yes              Very Good              Very   Good       Optimal               Very Good             Very Good         Very   Good       Very Good         Very Good          Appropriate Case Plan
Region VI      New Britain         CPS In-Home Family      yes              yes              Very Good              Very   Good       Very Good             M arginal             Very Good         Very   Good       Very Good         Very Good          Appropriate Case Plan
Region VI      New Britain         CPS CIP                 yes              yes              Optimal                Very   Good       Very Good             Very Good             Optimal           Very   Good       Very Good         Optimal            Appropriate Case Plan
Region VI      New Britain         CPS CIP                 yes              yes              Very Good              Very   Good       Very Good             Very Good             Very Good         Very   Good       Very Good         Very Good          Appropriate Case Plan
                              New Britain 3rd Quarter 2019          83.3%              83.3%         83.3%                    83.3%                   83.3%           50.0%               83.3%               83.3%               66.7%         83.3%                                66.7%
                    Region VI OM3 2019                              87.5%              87.5%         87.5%                    87.5%                   75.0%           62.5%               75.0%               87.5%               75.0%         87.5%                                75.0%
             S tatewide OM3 3rd Quarter 2019                        92.6%              92.6%         87.0%                    88.9%                   63.0%           57.4%               68.5%               75.5%               66.7%         88.9%                                50.0%




                                                                                                                                                                                                                                                                         25
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Issues with inclusion/engagement of case participants in the case planning process were noted in
prior reporting. During this period under review, the Department engaged case participants with
varying amounts of success. While documentation reflected some level of case planning
discussions with most key case participants, attendance at the Administrative Case Reviews
continues to be low in many cases especially with respect to adolescents, fathers, Guardian Ad
Litem (GAL), other involved DCF staff, and active service providers.


  Participation in Case Planning and Attendance at the ACR 2nd       Participation in Case Planning and Attendance at the ACR 3rd
                           Quarter 2019                                                       Quarter 2019
                              Documentation of                                                   Documentation of
                              Case Planning     Attendance at                                    Case Planning     Attendance at
Case Participant              during PUR        the ACR            Case Participant              during PUR        the ACR
Child (Age 12 or more)                    98.3%            28.6%   Child (Age 12 or more)                    87.5%             0.0%
Mother                                    89.8%            77.3%   Mother                                    91.7%            63.7%
Father                                    68.2%            26.3%   Father                                    60.9%            25.0%
Foster Parent                             91.7%            39.1%   Foster Parent                             96.3%            52.0%
Active Service Provider                   76.9%            31.1%   Active Service Provider                   75.4%            23.1%
Attorney/GAL                              45.9%            30.7%   Attorney/GAL                              42.1%            25.0%
Attorney for Parent                       57.1%            47.8%   Attorney for Parent                       45.5%            42.1%
Other DCF Staff                           69.0%            20.0%   Other DCF Staff                           73.3%            22.2%
Other Case Participants                   70.8%            69.2%   Other Case Participants                   90.5%            62.5%




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Outcome Measure 4
The 2017 Revised Exit Plan requirement for Outcome Measure 4 – Needs Met, is stated as:
   “Families and children shall have their medical, dental, mental health and
   other service needs met as set forth in the “DCF Court Monitor’s Protocol for
   Outcome Measures 3 and 4” and the accompanying “Directional Guide for
   Outcome Measures 3 and 4 Reviews”. The enforceable domains of this
   Outcome Measure shall not include the “All Needs Met” domain. The domains
   for which compliance at 85% or better has been met for a quarter then
   sustained for an additional quarter as of the date of this 2017 Revised Exit
   Plan shall be considered to have achieved Pre-Certification. These domains
   include:
       •  Risk: Child in Placement
       •  Securing the Permanent Placement
       •  DCF Case Management – Legal Action to Achieve the Permanency
          Goal in the Prior Six Months
       • DCF Case Management – Recruitment for Placement Providers to
          Achieve Permanency Goal during the Prior Six Months
       • Child’s Current Placement
       • Education
   For each of the remaining domains, once compliance at 85% or better has
   been met for a quarter and then sustained for an additional quarter, that
   domain shall also be considered to have achieved Pre-Certification. Once all
   the domains achieve Pre-Certification, then Outcome Measure 4 shall be
   considered to have achieved Pre-Certification and subject to the process in
   Paragraphs 10 and 11 hereof as to whether a final review is required in
   connection with a request to terminate jurisdiction over this action.”
In previous quarters, the Department met and sustained for an additional quarter, the following
domains:
   •   Risk: Child in Placement (July 2018 Status Report)
   •   Securing the Permanent Placement (July 2018 Status Report)
   •   DCF Case Management – Legal Action to Achieve the Permanency Goal in the Prior Six
       Months (July 2018 Status Report)
   •   DCF Case Management – Recruitment for Placement Providers to Achieve Permanency
       Goal during the Prior Six Months (July 2018 Status Report)
   •   Child’s Current Placement (January 2018 Status Report)
   •   Education (January 2018 Status Report)
   •   Medical (January 2018 Status Report)

Some domains have fluctuated in maintenance or required rates following initial pre-certification
as noted in our reporting of monitored performance in the quarters since goal achievement. In

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our last report, this Office noted that the Medical and Educational domains, specifically, dropped
and remained below the 85% rate of compliance and this quarter would be reviewed for
consideration of removal as pre-certified. The Court Monitor notes that this trend has reversed in
the current period under review with Medical Needs met in 94.3% and 94.4% respectively and
Educational reported trending in the positive direction with needs met in 84.3% and 86.3% of the
cases during the consecutive quarters of the period under review. Both will remain on the listing
for pre-certified domains.
Joining the list of pre-certified domains for the first time is Dental Needs, which were met 86.8%
and 87.0% consecutively across the two quarters of the period under review. The three domains
with which the Department continues to have the most difficulty are: Risk: In-Home,
Permanency: DCF Case Management – Contracting or Providing Services to Achieve the
Permanency Goal During the Prior Six Months, and Well Being: Mental Health, Behavioral
Health, and Substance Abuse Services.
                    Quarterly Statewide Summary of OM4 Domains 2nd Quarter 2017 – 3rd Quarter 2019 (Requirement 85.0%)




                                                                                                                                                                                                                     Providers to Achieve the Permanency Goal during the Prior Six
                                                                                             Permanency: Securing the Permanent Placement - Action Plan




                                                                                                                                                          Permanency: DCF Case Mgmt. - Legal Action to Achieve the




                                                                                                                                                                                                                                                                                                                                                                                                               Well-Being: Mental Health, Behavioral and Substance Abuse
                                                                                                                                                                                                                      Permanency: DCF Case Mgmt. - Recruitment for Placement




                                                                                                                                                                                                                                                                                     Services to Achieve the Permanency Goal during the Prior Six
                                                                                                                                                                                                                                                                                       Permanency: DCF Case Mgmt. - Contracting or Providing
                                                                                                                                                               Permanency Goal During the Prior Six Months




                                                                                                                                                                                                                                                                                                                                                                                                                                                                              Well-Being: Child's Current Placement
                                                                                                                                                                                                                                                                                                                                                      Well-Being: Medical Needs
                                                                 Risk: Child In Placement




                                                                                                                                                                                                                                                                                                                                                                                    Well-Being: Dental Needs
                                                                                                              for the Next Six Months




                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                        Well-Being: Education
                                              Risk: In-Home




                                                                                                                                                                                                                                                 Months




                                                                                                                                                                                                                                                                                                                 Months




                                                                                                                                                                                                                                                                                                                                                                                                                                        Services
Quarter




S tatewide 3rd Quarter 2019 OM4 Results     75.0%             100.0%                        96.3%                                                         85.2%                                                                100.0%                                                                  74.1%                                        94.4%                         87.0%                        74.1%                                                       100.0%                                     86.3%
S tatewide 2nd Quarter 2019 OM4 Results     90.3%             100.0%                        87.5%                                                         90.6%                                                                        87.5%                                                            75.5%                                       94.3%                         86.8%                        71.2%                                                       91.7%                                      84.3%
S tatewide 1st Quarter 2019 OM4 Results     69.0%              92.0%                        91.7%                                                         86.8%                                                                          87.5%                                                          60.4%                                       81.1%                         81.1%                        56.6%                                                        83.3%                                     74.5%
S tatewide 4th Quarter 2018 OM4 Results     66.7%              92.6%                        91.3%                                                         78.9%                                                                          91.7%                                                          58.5%                                       81.1%                         75.5%                        63.5%                                                        91.3%                                     84.6%
S tatewide 3rd Quarter 2018 OM4 Results     70.0%              96.2%                        100.0%                                                        87.0%                                                                 100.0%                                                                  51.9%                                       83.3%                         87.0%                        70.4%                                                        91.7%                                     86.3%
S tatewide 2nd Quarter 2018 OM4 Results     73.9%              96.8%                        100.0%                                                        90.6%                                                                          90.3%                                                          50.9%                                       90.6%                         81.1%                        73.6%                                                        77.4%                                     87.5%
S tatewide - 1st Quarter 2018 OM4 Results   81.3%             100.0%                        95.8%                                                         92.5%                                                                          95.7%                                                          51.9%                                       85.2%                         75.9%                        61.1%                                                        91.3%                                     86.8%
S tatewide - 4th Quarter 2017 OM4 Results   82.1%              96.0%                        100.0%                                                        94.3%                                                                          96.0%                                                          49.1%                                       79.3%                         81.1%                        50.9%                                                        84.0%                                     80.4%
S tatewide - 3rd Quarter 2017 OM4 Results   81.8%             100.0%                        93.5%                                                         90.6%                                                                          93.8%                                                          52.8%                                       86.8%                         83.0%                        64.2%                                                        87.1%                                     88.0%

S tatewide - 2nd Quarter 2017 OM4 Results   78.3%             100.0%                        95.8%                                                         98.1%                                                                 100.0%                                                                  57.4%                                       94.4%                         85.2%                        75.9%                                                        93.9%                                     83.3%



A summary of this measure by region during each quarter is found on the following pages. While
all regions had successes across many of the identified domains, Region VI (Meriden, New
Britain) achieved full compliance on all measured domains within the Third Quarter 2019
reporting period.




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                                Quarterly Statewide Summary of OM4 Domains 2nd Quarter 2019 (Requirement 85.0%)




                                                                                                                                                                                                                                                                                                                                     Permanency: DCF Case Mgmt. - Contracting or
                                                                                                                                                                                                            Permanency: DCF Case Mgmt. - Legal Action




                                                                                                                                                                                                                                                                         Permanency: DCF Case Mgmt. - Recruitment

                                                                                                                                                                                                                                                                         Permanency Goal during the Prior Six Months


                                                                                                                                                                                                                                                                                                                                      Providing Services to Achieve the Permanency
                                                                                                                                                                                                             to Achieve the Permanency Goal During the




                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                 Well-Being: Mental Health, Behavioral and
                                                                                                                                                Placement - Action Plan for the Next Six




                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         Well-Being: Child's Current Placement
                                                                                                                                                                                                                                                                             for Placement Providers to Achieve the
                                                                                                                                                 Permanency: Securing the Permanent




                                                                                                                                                                                                                                                                                                                                            Goal during the Prior Six Months




                                                                                                                                                                                                                                                                                                                                                                                                               Well-Being: Medical Needs
                                                                                                      Risk: Child In Placement




                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          Substance Abuse Services
                                                                                                                                                                                                                                                                                                                                                                                                                                                              Well-Being: Dental Needs




                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                      Well-Being: Education
                                                                                                                                                                                                                           Prior Six Months
                                                        Risk: In-Home




                                                                                                                                                                 Months
Quarter




Region I - 2nd Quarter 2019            100.0%                             100.0%                                                                   100.0%                                                             83.3%                                                 100.0%                                                      100.0%                                         83.3%                                                66.7%                                        66.7%                                               100.0%                                               66.7%
Region II - 2nd Quarter 2019           100.0%                             100.0%                                                                         75.0%                                                 100.0%                                                       100.0%                                                             75.0%                                   87.5%                                                87.5%                                        87.5%                                               100.0%                                              100.0%
Region III - 2nd Quarter 2019          100.0%                             100.0%                                                                   100.0%                                                             90.0%                                                 100.0%                                                             80.0%                                  100.0%                                               100.0%                                        88.9%                                               100.0%                                              100.0%
Region IV - 2nd Quarter 2019               66.7%                          100.0%                                                                   100.0%                                                             90.9%                                                 100.0%                                                             63.6%                                   90.9%                                                72.7%                                        63.6%                                                80.0%                                               81.8%
Region V - 2nd Quarter 2019            100.0%                             100.0%                                                                         80.0%                                                        81.8%                                                        60.0%                                                       72.7%                                  100.0%                                                90.9%                                        54.5%                                                80.0%                                               70.0%
Region VI - 2nd Quarter 2019               80.0%                          100.0%                                                                         66.7%                                                 100.0%                                                              66.7%                                                       71.4%                                  100.0%                                               100.0%                                        71.4%                                               100.0%                                               71.4%
S tatewide - 2nd Quarter 2019                 90.3%                        100.0%                                                                          87.5%                                                        90.6%                                                        87.5%                                                       75.5%                                 94.3%                                                 86.8%                                          71.2%                                             91.7%                                               84.3%
OM3 Results


                                   Quarterly Regional Summary of OM4 3rd Quarter 2019 (Requirement 85.0%)


                                                                                                                                                                                                                                                                                                                       Permanency: DCF Case Mgmt. - Contracting or
                                                                                                                                                                                           Permanency: DCF Case Mgmt. - Legal Action




                                                                                                                                                                                                                                                         Permanency: DCF Case Mgmt. - Recruitment

                                                                                                                                                                                                                                                         Permanency Goal during the Prior Six Months


                                                                                                                                                                                                                                                                                                                        Providing Services to Achieve the Permanency
                                                                                                                                                                                            to Achieve the Permanency Goal During the




                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         Well-Being: Mental Health, Behavioral and
                                                                                                                             Placement - Action Plan for the Next Six




                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                Well-Being: Child's Current Placement
                                                                                                                                                                                                                                                             for Placement Providers to Achieve the
                                                                                                                              Permanency: Securing the Permanent




                                                                                                                                                                                                                                                                                                                              Goal during the Prior Six Months




                                                                                                                                                                                                                                                                                                                                                                                        Well-Being: Medical Needs
                                                                           Risk: Child In Placement




                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                  Substance Abuse Services
                                                                                                                                                                                                                                                                                                                                                                                                                                              Well-Being: Dental Needs




                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                     Well-Being: Education
                                                                                                                                                                                                          Prior Six Months
                                        Risk: In-Home




                                                                                                                                              Months




Quarter




Region I - 3rd Quarter 2019          75.0%                              100.0%                                                           66.7%                                                         71.4%                                                    100.0%                                                              57.1%                                            100.0%                                                100.0%                                        71.4%                                               100.0%                                              100.0%
Region II - 3rd Quarter 2019         75.0%                              100.0%                                                     100.0%                                                              87.5%                                                    100.0%                                                              75.0%                                            87.5%                                                 50.0%                                         62.5%                                               100.0%                                               87.5%
Region III - 3rd Quarter 2019        80.0%                              100.0%                                                     100.0%                                                              90.0%                                                    100.0%                                                              60.0%                                            90.0%                                                 90.0%                                         80.0%                                               100.0%                                               77.7%
Region IV - 3rd Quarter 2019         80.0%                              100.0%                                                     100.0%                                                              80.0%                                                    100.0%                                                              80.0%                                            100.0%                                                100.0%                                        77.8%                                               100.0%                                               88.9%
Region V - 3rd Quarter 2019          50.0%                              100.0%                                                     100.0%                                                              90.9%                                                    100.0%                                                              72.7%                                            90.9%                                                 81.8%                                         72.7%                                               100.0%                                               72.7%
Region VI - 3rd Quarter 2019        100.0%                              100.0%                                                     100.0%                                                              87.5%                                                    100.0%                                                        100.0%                                                 100.0%                                                100.0%                                        87.5%                                               100.0%                                              100.0%
S tatewide - 3rd Quarter             75.0%                              100.0%                                                           96.3%                                                         85.2%                                                    100.0%                                                              74.1%                                            94.4%                                                 87.0%                                         74.1%                                               100.0%                                               86.3%
2019 OM3 Results


A reporting of the measures by Area Office at the case level is provided for consideration on the
following pages.




                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                    29
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                                                                                           Outcome Measure 4 - 2nd Quarter 2019 Individual Domain Case Summaries by Office, Region and State
                                                                                                                                                                   Permanency: DCF
                                                                                                                                               Permanency: DCF        Case Mgmt -
                                                                                                                                                  Case Mgmt -        Contracting or
                                                                                                        Permanency:         Permanency: DCF Recruitment for            Providing
                                                                                                        Securing the        Case Mgmt - Legal Placement Providers     Services to                                                         Well-Being:
             What is the social                                                                           Permanent         Action to Achieve    to Achieve the       Achieve the                                                        Mental Health,
               worker's area       What is the type of                                                   Placement -         the Permanency Permanency Goal Permanency Goal                                                             Behavioral and     Well-Being:                                    Overall Score for
                   office         assignment noted in                              Risk: Child In     Action Plan for the     Goal During the during the Prior Six during the Prior    Well-Being:                   Well-Being:       Substance Abuse Child's Current                Well-Being:        Outcome Measure
                assignment?              LINK?               Risk: In-Home           Placement         Next Six Months       Prior Six Months        Months           Six Months     Medical Needs                  Dental Needs            Services        Placement                  Education                  4
             Bridgeport         CPS Child in Placement     Very Good             Very Good            Optimal               Optimal           Very Good            Very Good        Very Good                     Marginal             Very Good        Very Good                  Very Good             Needs Met
             Bridgeport           CPS In-Home Family       Very Good             N/A to Case          N/A to Case           Very Good            N/A to Case            Very Good            Very Good            Very Good            Very Good             N/A to Case           Marginal              Needs Met
             Bridgeport           CPS In-Home Family       Very Good             N/A to Case          N/A to Case           Very Good            N/A to Case            Very Good            Very Good            Very Good            Very Good             N/A to Case           Very Good             Needs Met
             Bridgeport           CPS Child in Placement   N/A to Case           Optimal              Very Good             Optimal              Optimal                Very Good            Very Good            Very Good            Very Good             Optimal               Optimal               Needs Met
Region I Bridgeport 2nd Quarter 2019                                   100.0%                100.0%               100.0%                100.0%                 100.0%               100.0%               100.0%                75.0%               100.0%                100.0%                  75.0%               100.0%
             Norwalk              CPS In-Home Family       Very Good             N/A to Case          N/A to Case           Marginal             N/A to Case            Very Good            Very Good            Marginal             Marginal              N/A to Case           Very Good             Needs Not Met
             Norwalk              CPS Child in Placement   N/A to Case           Very Good            Very Good             Very Good            Very Good              Very Good            Marginal             Very Good            Marginal              Very Good             Marginal              Needs Not Met
             Norwalk 2nd quarter 2019                                  100.0%                100.0%               100.0%                 50.0%                 100.0%               100.0%                50.0%                50.0%                  0.0%               100.0%                  50.0%                   0.0%
                        Region I 2nd Quarter 2019                      100.0%                100.0%               100.0%                 83.3%                 100.0%               100.0%                83.3%                66.7%                 66.7%               100.0%                  66.7%                66.7%
             Milford              CPS In-Home Family       Very Good             N/A to Case          N/A to Case           Optimal              N/A to Case            Very Good            Very Good            Very Good            Very Good             N/A to Case           Optimal               Needs Met
             Milford              CPS In-Home Family       Very Good             N/A to Case          N/A to Case           Very Good            N/A to Case            Very Good            Very Good            Very Good            Marginal              N/A to Case           Very Good             Needs Not Met
             Milford              CPS Child in Placement   N/A to Case           Very Good            Marginal              Very Good            Very Good              Marginal             Very Good            Poor                 Very Good             Very Good             Very Good             Needs Not Met
             Milford              CPS Child in Placement   N/A to Case           Very Good            Very Good             Very Good            Very Good              Very Good            Very Good            Very Good            Very Good             Very Good             Very Good             Needs Met
             Milford 2nd Quarter 2019                                  100.0%                100.0%                 50.0%               100.0%                 100.0%                75.0%               100.0%                75.0%                 75.0%               100.0%                100.0%                 50.0%
Region II New Haven               CPS In-Home Family       Very Good             N/A to Case          N/A to Case           Optimal              N/A to Case            Marginal             Marginal             Very Good            Very Good             N/A to Case           Very Good             Needs Not Met
             New Haven            CPS Child in Placement   N/A to Case           Optimal              Optimal               Very Good            Optimal                Very Good            Very Good            Optimal              Very Good             Optimal               Optimal               Needs Met
             New Haven            CPS In-Home Family       Very Good             N/A to Case          N/A to Case           Very Good            N/A to Case            Very Good            Very Good            Very Good            Very Good             N/A to Case           Very Good             Needs Met
             New Haven            CPS Child in Placement   N/A to Case           Very Good            Very Good             Very Good            Very Good              Very Good            Very Good            Very Good            Very Good             Very Good             Very Good             Needs Met
             New Haven 2nd Quarter 2019                                100.0%                100.0%               100.0%                100.0%                 100.0%                75.0%                75.0%               100.0%               100.0%                100.0%                100.0%                 75.0%
                        Region II 2nd Quarter 2019                     100.0%                100.0%                 75.0%               100.0%                 100.0%                75.0%                87.5%                87.5%                 87.5%               100.0%                100.0%                 62.5%
             Middletown           CPS In-Home Family       Very Good             N/A to Case          N/A to Case           Very Good            N/A to Case            Very Good            Optimal              Optimal              Very Good             N/A to Case           Very Good             Needs Met
             Middletown           CPS Child in Placement   N/A to Case           Very Good            Very Good             Very Good            Very Good              Very Good            Very Good            Optimal              Very Good             Very Good             Optimal               Needs Met
             Middletown 2nd Quarter 2019                               100.0%                100.0%               100.0%                100.0%                 100.0%               100.0%               100.0%               100.0%               100.0%                100.0%                100.0%                100.0%
             Norwich              CPS In-Home Family       Very Good             Optimal              N/A to Case           Optimal              N/A to Case            Very Good            Optimal              Optimal              Very Good             N/A to Case           Optimal               Needs Met
             Norwich              CPS In-Home Family       Very Good             N/A to Case          N/A to Case           Very Good            N/A to Case            Marginal             Very Good            Very Good            Marginal              N/A to Case           Very Good             Needs Not Met
             Norwich              CPS Child in Placement   N/A to Case           Very Good            Optimal               Marginal             Optimal                Very Good            Optimal              Optimal              Very Good             Optimal               Very Good             Needs Not Met
             Norwich              CPS In-Home Family       Very Good             Very Good            N/A to Case           Very Good            N/A to Case            Very Good            Optimal              Optimal              Very Good             N/A to Case           Very Good             Needs Met
Region III
             Norwich              CPS Child in Placement   N/A to Case           Very Good            Very Good             Optimal              Very Good              Very Good            Optimal              Optimal              Very Good             Very Good             Very Good             Needs Met
             Norwich 2nd Quarter 2019                                  100.0%                100.0%               100.0%                 80.0%                 100.0%                80.0%               100.0%               100.0%                 80.0%               100.0%                100.0%                 60.0%
             Willimantic          CPS In-Home Family       Very Good             N/A to Case          N/A to Case           Very Good            N/A to Case            Marginal             Very Good            Very Good            Very Good             N/A to Case           Very Good             Needs Not Met
             Willimantic          CPS Child in Placement   N/A to Case           Optimal              Optimal               Optimal              Optimal                Optimal              Optimal              Optimal              N/A to Case           Optimal               Optimal               Needs Met
             Willimantic          CPS In-Home Family       Very Good             N/A to Case          N/A to Case           Very Good            N/A to Case            Very Good            Very Good            Very Good            Very Good             N/A to Case           Very Good             Needs Met
             Willimantic 2nd Quarter 2019                              100.0%                100.0%               100.0%                100.0%                 100.0%                66.7%               100.0%               100.0%               100.0%                100.0%                100.0%                 66.7%
                        Region III 2nd Quarter 2019                    100.0%                100.0%               100.0%                 90.0%                 100.0%                80.0%               100.0%               100.0%                 88.9%               100.0%                100.0%                 70.0%
             Hartford             CPS In-Home Family       Very Good             Optimal              N/A to Case           Optimal              N/A to Case            Optimal              Optimal              Optimal              Very Good             N/A to Case           Optimal               Needs Met
             Hartford             CPS Child in Placement   N/A to Case           Very Good            Very Good             Optimal              Very Good              Very Good            Optimal              Very Good            Very Good             Very Good             Very Good             Needs Met
             Hartford             CPS In-Home Family       Very Good             N/A to Case          N/A to Case           Very Good            N/A to Case            Marginal             Very Good            Marginal             Very Good             N/A to Case           Very Good             Needs Not Met
             Hartford             CPS In-Home Family       Very Good             N/A to Case          N/A to Case           Very Good            N/A to Case            Very Good            Marginal             Poor                 Marginal              N/A to Case           Very Good             Needs Not Met
             Hartford             CPS Child in Placement   N/A to Case           Very Good            Optimal               Very Good            Optimal                Very Good            Very Good            Very Good            Very Good             Marginal              Optimal               Needs Not Met
             Hartford             CPS In-Home Family       Marginal              N/A to Case          N/A to Case           Marginal             N/A to Case            Very Good            Very Good            Marginal             Marginal              N/A to Case           Marginal              Needs Not Met
             Hartford             CPS Child in Placement   N/A to Case           Very Good            Very Good             Very Good            Very Good              Marginal             Very Good            Optimal              Very Good             Very Good             Very Good             Needs Not Met
Region IV
             Hartford 2nd Quarter 2019                                   75.0%               100.0%               100.0%                 85.7%                 100.0%                71.4%                85.7%                57.1%                 71.4%                 66.7%                 85.7%                28.6%
             Manchester           CPS In-Home Family       Very Good             N/A to Case          N/A to Case           Optimal              N/A to Case            Very Good            Optimal              Very Good            Very Good             N/A to Case           Very Good             Needs Met
             Manchester           CPS In-Home Family       Marginal              N/A to Case          N/A to Case           Very Good            N/A to Case            Marginal             Very Good            Optimal              Marginal              N/A to Case           N/A to Case           Needs Not Met
             Manchester           CPS Child in Placement   N/A to Case           Very Good            Very Good             Very Good            Very Good              Marginal             Very Good            Optimal              Marginal              Very Good             Very Good             Needs Not Met
             Manchester           CPS Child in Placement   N/A to Case           Very Good            Very Good             Very Good            Very Good              Very Good            Optimal              Optimal              Very Good             Very Good             Optimal               Needs Met
             Manchester 2nd Quarter 2019                                 50.0%               100.0%               100.0%                100.0%                 100.0%                50.0%               100.0%               100.0%                 50.0%               100.0%                100.0%                 50.0%
                        Region IV 2nd Quarter 2019                       66.7%               100.0%               100.0%                 90.9%                 100.0%                63.6%                90.9%                72.7%                 63.6%                 80.0%                 81.8%                36.4%
             Danbury              CPS Child in Placement   N/A to Case           Very Good            Optimal               Very Good            Optimal                Very Good            Optimal              Optimal              Marginal              Very Good             Marginal              Needs Not Met
             Danbury              CPS In-Home Family       Very Good             N/A to Case          N/A to Case           Optimal              N/A to Case            Very Good            Very Good            Very Good            Very Good             N/A to Case           Very Good             Needs Met
             Danbury 2nd Quarter 2019                                  100.0%                100.0%               100.0%                100.0%                 100.0%               100.0%               100.0%               100.0%                 50.0%               100.0%                  50.0%                50.0%
             Torrington           CPS Child in Placement   N/A to Case           Very Good            Very Good             Very Good            Marginal               Marginal             Very Good            Very Good            Marginal              Marginal              Marginal              Needs Not Met
             Torrington           CPS In-Home Family       Optimal               N/A to Case          N/A to Case           Optimal              N/A to Case            Very Good            Optimal              Optimal              Very Good             N/A to Case           Optimal               Needs Met
             Torrington 2nd Quarter 2019                               100.0%                100.0%               100.0%                100.0%                   0.0%                50.0%               100.0%               100.0%                 50.0%                  0.0%                 50.0%                50.0%
             Waterbury            CPS Child in Placement   N/A to Case           Very Good            Marginal              Marginal             Marginal               Very Good            Optimal              Optimal              Very Good             Very Good             Very Good             Needs Not Met
Region V Waterbury                CPS Child in Placement   N/A to Case           Optimal              Optimal               Very Good            Optimal                Very Good            Optimal              Optimal              Very Good             Optimal               Very Good             Needs Met
             Waterbury            CPS In-Home Family       Very Good             N/A to Case          N/A to Case           Optimal              N/A to Case            Marginal             Very Good            Very Good            Marginal              N/A to Case           N/A to Case           Needs Not Met
             Waterbury            CPS In-Home Family       Very Good             N/A to Case          N/A to Case           Very Good            N/A to Case            Very Good            Very Good            Very Good            Marginal              N/A to Case           Very Good             Needs Not Met
             Waterbury            CPS In-Home Family       Very Good             N/A to Case          N/A to Case           Very Good            N/A to Case            Very Good            Very Good            Very Good            Very Good             N/A to Case           Very Good             Needs Met
             Waterbury            CPS In-Home Family       Very Good             N/A to Case          N/A to Case           Very Good            N/A to Case            Very Good            Optimal              Marginal             Marginal              N/A to Case           Marginal              Needs Not Met
             Waterbury            CPS Child in Placement   N/A to Case           Optimal              Very Good             Marginal             Very Good              Marginal             Very Good            Optimal              Very Good             Very Good             Optimal               Needs Not Met
             Waterbury 2nd Quarter 2019                                100.0%                100.0%                 66.7%                71.4%                  66.7%                71.4%               100.0%                85.7%                 57.1%               100.0%                  83.3%                28.6%
                        Region V 2nd quarter 2019                      100.0%                100.0%                 80.0%                81.8%                  60.0%                72.7%               100.0%                90.9%                 54.5%                 80.0%                 70.0%                36.4%
             Meriden              CPS In-Home Family       Marginal              N/A to Case          N/A to Case           Very Good            N/A to Case            Very Good            Optimal              Very Good            Marginal              N/A to Case           Marginal              Needs Not Met
             Meriden              CPS Child in Placement   N/A to Case           Optimal              Very Good             Very Good            Optimal                Very Good            Very Good            Very Good            Very Good             Optimal               Optimal               Needs Met
             Meriden 2nd Quarter 2019                                     0.0%               100.0%               100.0%                100.0%                 100.0%               100.0%               100.0%               100.0%                 50.0%               100.0%                  50.0%                50.0%
             New Britain          CPS Child in Placement   Very Good             Very Good            Marginal              Very Good            Marginal               Marginal             Very Good            Very Good            Marginal              Very Good             Marginal              Needs Not Met
             New Britain          CPS In-Home Family       Very Good             N/A to Case          N/A to Case           Very Good            N/A to Case            Very Good            Very Good            Very Good            Very Good             N/A to Case           Very Good             Needs Met
Region VI
             New Britain          CPS In-Home Family       Very Good             N/A to Case          N/A to Case           Very Good            N/A to Case            Marginal             Very Good            Optimal              Very Good             N/A to Case           Very Good             Needs Met
             New Britain          CPS Child in Placement   N/A to Case           Optimal              Very Good             Very Good            Very Good              Very Good            Optimal              Very Good            Very Good             Very Good             Very Good             Needs Met
             New Britain          CPS In-Home Family       Very Good             N/A to Case          N/A to Case           Very Good            N/A to Case            Very Good            Very Good            Very Good            Very Good             N/A to Case           Very Good             Needs Met
             New Britain 2nd Quarter 2019                              100.0%                100.0%                 50.0%               100.0%                  50.0%                60.0%               100.0%               100.0%                 80.0%               100.0%                  80.0%                80.0%
                        Region VI 2nd Quarter 2019                       80.0%               100.0%                 66.7%               100.0%                  66.7%                71.4%               100.0%               100.0%                 71.4%               100.0%                  71.4%                71.4%
             Total Statewide 2nd Quarter 2019                            90.3%               100.0%                 87.5%                90.6%                  87.5%                75.5%                94.3%                86.8%                 71.2%                 91.7%                 84.3%                54.7%




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Juan F. v. Lamont Exit Plan Status Report
February 2020
_____________________________________________________________________________________________
                                                  Outcome Measure 4 - 3nd Quarter 2019 Individual Domain Case Summaries by Office, Region and State

                                                                                                                   Permanency:       Permanency:
                                                                                              Permanency:        DCF Case Mgmt - DCF Case Mgmt -                                         Well-Being:
                                                                           Permanency:      DCF Case Mgmt         Recruitment for   Contracting or                                          Mental
                                                                           S ecuring the    - Legal Action to       Placement          Providing                                            Health,
                 What is the                                                Permanent          Achieve the          Providers to      S ervices to                                        Behavioral
                    social     What is the                                  Placement -        Permanency           Achieve the       Achieve the                                             and    Well-Being:
               worker's area   type of case                               Action Plan for   Goal During the        Permanency      Permanency Goal Well-Being:               Well-Being:  S ubstance    Child's     Well-                Overall S core
                    office     assignment                   Risk: Child the Next S ix           Prior S ix        Goal during the during the Prior    Medical                   Dental      Abuse      Current     Being:                for Outcome
                assignment? noted in LINK? Risk: In-Home In Placement         Months             Months          Prior S ix Months    S ix Months      Needs                    Needs      S ervices  Placement   Education               Measure 4
Region I       Bridgeport    CPS CIP Case   N/A to Case     Very Good     M arginal         M arginal            Very Good         M arginal       Very Good                 Very Good   M arginal   Very Good   Very Good              Needs Not M et
Region I       Bridgeport    CPS CIP Case   N/A to Case     Very Good     Very Good         Very Good            Very Good         Very Good       Optimal                   Optimal     Very Good   Very Good   Very Good              Needs M et
Region I       Bridgeport    CPS In-Home    Very Good       N/A to Case   N/A to Case       Optimal              N/A to Case       Very Good       Optimal                   Very Good   Very Good   N/A to Case Very Good              Needs M et
                             Family Case
Region I       Bridgeport    CPS In-Home    Very Good       Optimal       N/A to Case       Optimal              N/A to Case          Very Good            Very Good         Very Good     Very Good       N/A to Case    Very Good     Needs M et
                             Family Case
          Bridgeport 3rd Quarter 2019 OM4           100.0%         100.0%           50.0%               75.0%              100.0%           75.0%       100.0%      100.0%        75.0%        100.0%     100.0%           75.0%
Region I       Norwalk       CPS In-Home    Marginal        N/A to Case   N/A to Case       Very Good            N/A to Case      Very Good       Optimal      Optimal     Very Good    N/A to Case   Optimal    Needs Met
                             Family Case
Region I       Norwalk       CPS CIP Case   N/A to Case     Optimal       Very Good         Very Good            Optimal              Marginal             Very Good         Optimal       Very Good       Very Good      Very Good     Needs Met
Region I       Norwalk       CPS In-Home    Very Good       N/A to Case   N/A to Case       M arginal            N/A to Case          M arginal            Very Good         Very Good     M arginal       N/A to Case    Very Good     Needs Not M et
                             Family Case
            Norwalk 3rd Quarter 2019 OM4              50.0%        100.0%         100.0%                66.7%                100.0%               33.3%          100.0%      100.0%        66.7%       100.0%     100.0%           66.7%
     Region I OM4 3rd Quarter 2019                    75.0%        100.0%           66.7%               71.4%                100.0%               57.1%          100.0%      100.0%        71.4%       100.0%     100.0%           71.4%
Region II      M ilford      Services Post  N/A to Case     Very Good     Very Good         Optimal              Very Good            Very Good            Very Good    Optimal     Very Good    Very Good    Very Good Needs M et
                             M ajority CIP
                             Case
Region II      M ilford      CPS In-Home    M arginal       N/A to Case   N/A to Case       Very Good            N/A to Case          Very Good            Very Good         Very Good     Very Good       N/A to Case    Very Good     Needs Not M et
                             Family Case
Region II      M ilford      CPS CIP Case   N/A to Case     Very Good     Very Good         Very Good            Very Good            M arginal            Very Good         M arginal     Very Good       Very Good      Very Good     Needs Not M et
Region II      Milford       CPS In-Home    Very Good       N/A to Case   N/A to Case       Optimal              N/A to Case          Very Good            Very Good         Marginal      Very Good       N/A to Case    Very Good     Needs Met
                             Family Case
              Milford 3rd Quarter 2019 OM4            50.0%        100.0%         100.0%             100.0%           100.0%           75.0%        100.0%        50.0%        100.0%       100.0%      100.0%           50.0%
Region II      New Haven     CPS CIP Case   N/A to Case     Very Good     Very Good         Very Good       Optimal          Very Good       Very Good     Very Good    Optimal       Optimal      Very Good Needs M et
Region II      New Haven     CPS CIP Case   N/A to Case     Very Good     Very Good         Very Good       Very Good        Very Good       Optimal       Very Good    M arginal     Very Good    M arginal   Needs Not M et
Region II      New Haven     CPS In-Home    Very Good       N/A to Case   N/A to Case       Poor            N/A to Case      M arginal       M arginal     M arginal    M arginal     N/A to Case Very Good Needs Not M et
                             Family Case
Region II      New Haven     CPS In-Home    Very Good       N/A to Case   N/A to Case       Very Good            N/A to Case          Very Good            Very Good         M arginal     M arginal       N/A to Case    Very Good     Needs Not M et
                             Family Case
         New Haven 3rd Quarter 2019 OM4             100.0%         100.0%         100.0%                75.0%                100.0%               75.0%              75.0%         50.0%        25.0%      100.0%      75.0%            25.0%
     Region II OM4 3rd Quarter 2019                   75.0%        100.0%         100.0%                87.5%                100.0%               75.0%              87.5%         50.0%        62.5%      100.0%      87.5%            37.5%
Region III     M iddletown   Services Post  N/A to Case     Optimal       Optimal           Optimal              Optimal              Optimal              Optimal           Optimal     Optimal      Optimal     Optimal    Needs M et
                             M ajority CIP
                             Case
Region III     Middletown    CPS In-Home    Very Good       N/A to Case   N/A to Case       Very Good            N/A to Case          Marginal             Very Good         Very Good     Very Good       N/A to Case    Very Good     Needs Met
                             Family Case
        Middletown 3rd Quarter 2019 OM4             100.0%         100.0%         100.0%             100.0%           100.0%                      50.0%           100.0%      100.0%       100.0%       100.0%     100.0%         100.0%
Region III     Norwich       CPS CIP Case   N/A to Case     Optimal       Optimal           Very Good       Optimal          M arginal                     Optimal       Optimal     Very Good    Optimal      Optimal    Needs Not M et
Region III     Norwich       CPS In-Home    Very Good       N/A to Case   N/A to Case       Very Good       N/A to Case      M arginal                     M arginal     Poor        Very Good    N/A to Case Poor        Needs Not M et
                             Family Case
Region III     Norwich       CPS CIP Case   N/A to Case     Very Good     Very Good         Very Good            Optimal              Very Good            Optimal           Optimal       Very Good       Optimal        N/A to Case Needs M et
Region III     Norwich       CPS CIP Case   N/A to Case     Optimal       Optimal           Very Good            Optimal              Very Good            Optimal           Optimal       Very Good       Optimal        Optimal     Needs M et
Region III     Norwich       CPS In-Home    M arginal       N/A to Case   N/A to Case       Very Good            N/A to Case          M arginal            Very Good         Very Good     M arginal       N/A to Case    M arginal   Needs Not M et
                             Family Case
             Norwich 3rd Quarter 2019 OM4             50.0%        100.0%         100.0%             100.0%           100.0%           40.0%        80.0%       80.0%         80.0%       100.0%     50.0%          40.0%
Region III     Willimantic   CPS In-Home    Very Good       N/A to Case   N/A to Case       Very Good       N/A to Case      Very Good       Very Good    Very Good   M arginal     N/A to Case Very Good Needs Not M et
                             Family Case
Region III     Willimantic   CPS CIP Case   Very Good       N/A to Case   Very Good         Very Good            Optimal              Very Good            Optimal           Optimal       Very Good       Optimal        Very Good     Needs M et
Region III     Willimantic   CPS CIP Case   N/A to Case     Optimal       Very Good         M arginal            Optimal              Very Good            Optimal           Optimal       Very Good       Very Good      Optimal       Needs Not M et
        Willimantic 3rd Quarter 2019 OM4            100.0%         100.0%         100.0%                66.7%                100.0%               100.0%         100.0%           100.0%           66.7%         100.0%        100.0%              33.3%
           Region III OM4 3rd Quarter 2019            80.0%        100.0%         100.0%                90.0%                100.0%                60.0%           90.0%           90.0%           80.0%         100.0%         77.7%              50.0%
Region IV Hartford           CPS CIP Case   N/A to Case     Optimal       Very Good         Optimal              Optimal              Very Good            Optimal           Very Good     Very Good       Very Good      Optimal       Needs M et
Region IV Hartford           CPS In-Home    M arginal       N/A to Case   N/A to Case       M arginal            N/A to Case          M arginal            Very Good         Very Good     M arginal       N/A to Case    M arginal     Needs Not M et
                             Family Case
Region IV Hartford           CPS In-Home    Very Good       N/A to Case   N/A to Case       Very Good            N/A to Case          Very Good            Very Good         Very Good     Very Good       N/A to Case    Very Good     Needs M et
                             Family Case
Region IV      Hartford      CPS In-Home    Very Good       N/A to Case   N/A to Case       Very Good            N/A to Case          Very Good            Optimal           Very Good     Marginal        N/A to Case    Very Good     Needs Met
                             Family Case
Region IV Hartford           CPS CIP Case   N/A to Case     Very Good     Very Good         Optimal              Optimal              Very Good
                                                                                                                                             Very Good                       Optimal       N/A to Case     Very Good      N/A to Case   Needs M et
Region IV Hartford           CPS CIP Case   N/A to Case     Very Good     Very Good         Optimal              Very Good            Very Good
                                                                                                                                             Very Good                       Very Good     Very Good       Very Good      Very Good     Needs M et
            Hartford 3rd Quarter 2019 OM4             66.7%        100.0%         100.0%              83.3%           100.0%           83.3%       100.0%                         100.0%          60.0%          100.0%         80.0%                83.3%
Region IV M anchester        CPS CIP Case   N/A to Case     Very Good     Very Good         Optimal         Very Good        Very Good       Optimal                         Optimal       Very Good       Very Good      Very Good     Needs M et
Region IV M anchester        CPS In-Home    Very Good       N/A to Case   N/A to Case       Very Good       N/A to Case      Very Good       Very Good                       Very Good     Very Good       N/A to Case    Very Good     Needs M et
                             Family Case
Region IV M anchester        CPS In-Home    Very Good       N/A to Case   N/A to Case       Very Good            N/A to Case          M arginal            Very Good         Very Good     Very Good       N/A to Case    Very Good     Needs Not M et
                             Family Case
Region IV M anchester        CPS CIP Case   N/A to Case     Optimal       Optimal           M arginal            Optimal              Very Good         Optimal      Optimal      Very Good     Very Good    Very Good Needs Not                     M et
        Manchester 3rd Quarter 2019 OM4             100.0%         100.0%         100.0%                75.0%                100.0%               75.0%       100.0%       100.0%        100.0%       100.0%     100.0%                              50.0%
           Region IV OM4 3rd Quarter 2019             80.0%        100.0%         100.0%                80.0%                100.0%               80.0%       100.0%       100.0%         77.8%       100.0%      88.9%                              70.0%
Region V       Danbury       CPS CIP Case   N/A to Case     Very Good     Very Good         Very Good            Very Good            M arginal         Optimal      Very Good    Very Good     Very Good    Very Good Needs Not                     M et
Region V       Danbury       CPS In-Home    M arginal       N/A to Case   N/A to Case       M arginal            N/A to Case          M arginal         Very Good    M arginal    M arginal     N/A to Case M arginal   Needs Not                    M et
                             Family Case
             Danbury 3rd Quarter2019 OM4               0.0%        100.0%         100.0%                50.0%              100.0%                  0.0%          100.0%       50.0%        50.0%       100.0%     50.0%            0.0%
Region V       Torrington    CPS In-Home    Very Good       N/A to Case   N/A to Case       Optimal              N/A to Case      Very Good                Optimal      Optimal     Very Good    N/A to Case Optimal    Needs M et
                             Family Case
Region V       Torrington    CPS CIP Case   N/A to Case     Very Good     Very Good         Very Good       Very Good        Very Good        Very Good     Very Good   Very Good     Very Good    Optimal    Needs M et
         Torrington 3rd Quarter 2019 OM4            100.0%         100.0%         100.0%             100.0%           100.0%           100.0%        100.0%      100.0%        100.0%       100.0%     100.0%          100.0%
Region V       Waterbury     CPS In-Home    M arginal       N/A to Case   N/A to Case       Very Good       N/A to Case      Very Good        M arginal     Poor        M arginal     N/A to Case Poor        Needs Not M et
                             Family Case
Region V       Waterbury     CPS In-Home    Very Good       N/A to Case   N/A to Case       Optimal              N/A to Case          Very Good            Optimal           Optimal       Very Good       N/A to Case    Very Good     Needs M et
                             Family Case
Region V       Waterbury     CPS CIP Case   N/A to Case     Very Good     Very Good         Very Good            Optimal              Very Good            Very Good         Optimal       Optimal         Optimal        Very Good     Needs M et
Region V       Waterbury     CPS In-Home    Very Good       N/A to Case   N/A to Case       Optimal              N/A to Case          Optimal              Very Good         Optimal       Very Good       N/A to Case    Very Good     Needs M et
                             Family Case
Region V       Waterbury     CPS CIP Case   N/A to Case     Very Good     Very Good         Very Good            Very Good            Very Good            Very Good         Very Good     Very Good       Very Good      Very Good     Needs M et
Region V       Waterbury     CPS CIP Case   N/A to Case     Very Good     Very Good         Very Good            Very Good            Very Good            Very Good         Optimal       Very Good       Very Good      Very Good     Needs M et
Region V       Waterbury     CPS In-Home    M arginal       N/A to Case   N/A to Case       Very Good            N/A to Case          Poor                 Very Good         Very Good     M arginal       N/A to Case    M arginal     Needs Not M et
                             Family Case
          Waterbury 3rd Quarter 2019 OM4              50.0%        100.0%         100.0%                100.0%             100.0%           85.7%        85.7%       85.7%        71.4%       100.0%      85.7%           71.4%
            Region V OM4 3rd Quarter 2019             50.0%        100.0%         100.0%                 90.9%             100.0%           72.7%        90.9%       81.8%        72.7%       100.0%      72.7%           63.6%
Region VI      M eriden      CPS CIP Case   N/A to Case     Optimal       Optimal           Optimal              Optimal          Very Good       Very Good    Very Good   Very Good    Optimal      Very Good Needs M et
Region VI      M eriden      CPS In-Home    Very Good       N/A to Case   N/A to Case       Very Good            N/A to Case      Very Good       Very Good    Optimal     Very Good    N/A to Case Very Good Needs M et
                             Family Case
            Meriden 3rd Quarter 2019 OM4            100.0%         100.0%         100.0%             100.0%           100.0%           100.0%       100.0%      100.0%       100.0%       100.0%    100.0%         100.0%
Region VI      New Britain   CPS In-Home    Very Good       N/A to Case   N/A to Case       Very Good       N/A to Case      Very Good        Very Good    Optimal     Very Good    N/A to Case Very Good Needs M et
                             Family Case
Region VI      New Britain   CPS In-Home    Very Good       N/A to Case   N/A to Case       M arginal            N/A to Case          Very Good            Very Good         Optimal       M arginal       N/A to Case    Very Good     Needs Not M et
                             Family Case
Region VI      New Britain   CPS CIP Case   N/A to Case     Optimal       Very Good         Very Good            Very Good            Optimal              Very Good         Optimal       Very Good       Optimal        Very Good Needs M et
Region VI      New Britain   CPS In-Home    Very Good       N/A to Case   N/A to Case       Very Good            N/A to Case          Very Good            Very Good         Very Good     Very Good       N/A to Case    N/A to Case Needs M et
                             Family Case
Region VI      New Britain   CPS CIP Case   N/A to Case     Optimal       Optimal           Optimal              Optimal              Very Good            Optimal       Optimal     Very Good    Optimal     Very Good Needs M et
Region VI      New Britain   CPS CIP Case   N/A to Case     Optimal       Very Good         Optimal              Optimal              Very Good            Very Good     Optimal     Very Good    Optimal     Very Good Needs M et
       New Britain 3rd Quarter 2019 OM4             100.0%         100.0%         100.0%                83.3%                100.0%               100.0%         100.0%       100.0%        83.3%      100.0%     100.0%           83.3%
           Region VI OM4 3rd Quarter 2019           100.0%         100.0%         100.0%                87.5%                100.0%               100.0%         100.0%       100.0%        87.5%      100.0%     100.0%           87.5%
           S tatewide OM4 3rd Quarter 2019            75.0%        100.0%           96.3%               85.2%                100.0%                74.1%           94.4%       87.0%        74.1%      100.0%      86.3%           63.0%




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The individual needs identified in the 107 cases sampled over the two quarters of the review
period included a total of 157 unmet needs for the Second Quarter 2019 and 168 for cases in the
Third Quarter 2019; for a total of 325 for the full period under review (individual cases may have
more than one need identified). The Court Monitor notes that identified unmet needs are down
sharply from the 452 unmet reported in the last status report. The highest noted unmet needs
were Individual Counseling for parents (n=30), SW Visitation with Parents (21), DCF Contact
with Active Service Providers (19), Individual Counseling for child (n=16), and Dental
Screening (n=16). Client refusal remains the top noted reason for the unmet need.

            Unmet Needs Priority Needs with Identified Barriers During the Prior Six Months
                                                                                       2nd       3rd
                                                                                   Quarter    Quarter
 Need                               Identified Barrier                                2019      2019
                                    No Referral Made by DCF during the
 Adoption Recruitment               period under review                                  1         0
                                    Other: No Adoption Resource Will
 Adoption Recruitment               Accept Youth                                         0         1
 Anger Management                        Client Refused Service                         1          2
                                         No Referral Made by SW during the
 ARG Consultation                        period under review                            5          1
 ARG Consultation                        Other: Court Delays/Court Schedule             1          0
 ARG Consultation                        Delay in Referral by SW                        0          4
 Behavior Management                     Placed on Wait List                            1          0
 Case Management/Support Advocacy        Delays in Referrals                            5          4
 Case Management/Support Advocacy        Other: Untimely filing of TPR                  1          0
                                         Other: Lack of assessment of child active
 Case Management/Support Advocacy        in case                                        1          0
                                         DCF Failed to Properly Assess
                                         Child/Family Member related to this need
 Case Management/Support Advocacy        during the period under review                 1          1
 Day Treatment/Partial Hospitalization   Client Refused Service                         0          1
 DCF/Provider Contacts                   Delays in Referrals                            4          3
 DCF/Provider Contacts                   Client refused ROI                             1          0
                                         No Referral Made by DCF during the
 DCF/Provider Contacts                   period under review                            1          4
                                         Provider Issues - Staffing, Lack of Follow
 DCF/Provider Contacts                   Through, etc.                                  1          1
                                         DCF Failed to Properly Assess
                                         Child/Family Member related to identified
 DCF/Provider Contacts                   service during the period under review         1          3




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                                                                   2nd Quarter    3rd Quarter
 Need                              Identified Barrier                     2019           2019
 Dental or Orthodontic Services   Client Refused Service                     0             1
                                  No Referral Made by DCF during the
 Dental or Orthodontic Services   period under review                        0             1
 Dental Screening or Evaluation   Client Refused Service                     4             6
                                  No Referral Made by DCF during the
 Dental Screening or Evaluation   period under review                        3             0
 Dental Screening or Evaluation   Delay in Referral by SW                    1             0
                                  DCF Failed to Properly Assess
                                  Child/Family Member related to this
 Dental Screening or Evaluation   need during the period under review        1             0
                                  Provider Issues - Staffing, Lack of
 Dental Screening or Evaluation   Follow Through, etc.                       0             1
 Detoxification - Parent          Client Refused Service                     0             1
 Developmental Screening or
 Evaluation                       Client Refused Service                     1             0
 Domestic Violence Services -
 Perpetrator                      Client Refused Service                     1             0
 Domestic Violence Services -     Service Deferred Pending Completion of
 Victim                           Another                                    1             0
 Domestic Violence Services -
 Victim                           Placed on Wait List                        1             1
 Domestic Violence Services -
 Victim                           Client Refused Service                     0             3
 Domestic Violence Services -
 Victim                           UTD from Case Plan or Narratives           0             1
 Drug/Alcohol Education           No Referral Made by DCF during the
 Services - Child                 period under review                        1             0
 Drug/Alcohol Education
 Services - Parent                Client Refused Service                     0             1
 Drug/Alcohol Testing - Parent    Client Refused Service                     0             3
 Drug/Alcohol Testing - Parent    Delay in Referral by SW                    0             1
                                  Area Office did not Respond to reviewer
 Drug/Alcohol Testing - Parent    request for clarification                  0             1
 Educational Screening or
 Evaluation                       Client Refused Service                     1             2
 Educational Screening or         No Referral Made by DCF during the
 Evaluation                       period under review                        1             0
                                  DCF Failed to Properly Assess
 Educational Screening or         Child/Family Member related to this
 Evaluation                       need during the period under review        0             2
 Emergency Adult/Family
 Shelter                          Client Refused Service                     2             0
 Family Advocacy - Child          Client Refused Service                     0             1
 Family or Marital Counseling     Client Refused Service                     2             1
                                  No Referral Made by DCF during the
 Family or Marital Counseling     period under review                        1             0
                                  Provider Issues - Staffing, Lack of
 Family or Marital Counseling     Follow Through, etc.                       1             0


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                                                                   2nd Quarter    3rd Quarter
 Need                              Identified Barrier                     2019           2019
 Family Preservation Services     Delay in Referral by SW                    1             0
                                  Service Does Not Exist in local
 Family Preservation Services     community                                  1             0
 Family Preservation Services     Client Engaged after lengthy Delay         1             0
                                  DCF Failed to Properly Assess
                                  Child/Family Member related to this
 Family Preservation Services     need during the period under review        1             0


 Family Preservation Services     Client Refused Service                     0             1
 Family Reunification Services    Client Refused Service                     1             0
 Family Reunification Services    Delay in Referral by SW                    1             0
                                  Provider Issues - Staffing, Lack of
 Family Reunification Services    Follow Through, etc.                       1             0
 Family Reunification Services    Placed on Wait List                        1             0
                                  No Referral Made by DCF during the
 Family Stabilization Services    period under review                        0             1
 Group Counseling - Parent        Client Refused Service                     1             0
 Group Home                       Approval Process                           1             0
 Head Start Services              Client Refused Service                     2             0
 Health/Medical Screening or
 Evaluation                       Delay in Referral by SW                    1             1
 Health/Medical Screening or      No Referral Made by DCF during the
 Evaluation                       period under review                        1             0
 Health/Medical Screening or
 Evaluation                       UTD from Case Plan or Narratives           1             0
 Health/Medical Screening or
 Evaluation                       Client Refused Service                     0             6
 Housing Assistance (Section 8)   Approval Process                           1             0
 Housing Assistance (Section 8)   Client Refused Service                     1             1
 Housing Assistance (Section 8)   Placed on Wait List                        1             0
 Housing Assistance (Section 8)   No Slots Available                         1             0
 Housing Assistance (Section 8)   No Service Identified to Meet this Need    1             0
 Housing Assistance (Section 8)   Delay in Referral by SW                    0             1
                                  Service Deferred Pending Completion of
 Housing Assistance (Section 8)   Another                                    0             1
 Housing Assistance (Section 8)   UTD from Case Plan or Narratives           0             1




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                                                                           2nd Quarter   3rd Quarter
 Need                                Identified Barrier                          2019          2019
                                     Provider Issues - Staffing, Lack of
 IEP Programming                     Follow Through, etc.                           4             0
 IEP Programming                     Client Refused Service                         2             0
                                     DCF Failed to Properly Assess
                                     Child/Family Member related to
                                     this need during the period under
 IEP Programming                     review                                         0             1
 Individual Counseling - Child       Client Refused Service                         4             6
 Individual Counseling - Child       Delay in Referral by SW                        1             2
                                     Service Deferred Pending
 Individual Counseling - Child       Completion of Another                          1             0
                                     No Referral Made by DCF during
 Individual Counseling - Child       the period under review                        0             1
 Individual Counseling - Child       Placed on Wait List                            0             1
 Individual Counseling - Parent      Client Refused Service                        10            14
                                     Service Deferred Pending
 Individual Counseling - Parent      Completion of Another                          3             0
                                     Provider Issues - Staffing, Lack of
 Individual Counseling - Parent      Follow Through, etc.                           1             0
                                     Other Barrier - Client engaged
 Individual Counseling - Parent      sporadically                                   1             0
 Individual Counseling - Parent      Delay in Referral by SW                        0             1
 In-Home Parent Education Services   Client Refused Service                         1             4
 In-Home Parent Education Services   Delay in Referral by SW                        1             1
                                     No Service Identified to Meet this
 In-Home Parent Education Services   Need                                           1             0
 In-Home Treatment                   Client Refused Service                         1             2
 In-Home Treatment                   Placed on Wait List                            1             0
 In-Home Treatment                   Delay in Referral by SW                        0             1
                                     No Referral Made by DCF during
 In-Home Treatment                   the period under review                        0             1
 In-Home Treatment                   Insurance Issues                               0             1
                                     DCF Failed to Properly Assess
                                     Child/Family Member related to
                                     this need during the period under
 In-Home Treatment                   review                                         0             1




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                                                                             2nd Quarter   3rd Quarter
 Need                                  Identified Barrier                          2019          2019
 Inpatient Substance Abuse Treatment
 - Parent                              Client Refused Service                         2             1
 Inpatient Substance Abuse Treatment   Provider Issues - Staffing, Lack of
 - Parent                              Follow Through, etc.                           0             1
                                       No Service Identified to Meet this
 Job Coaching/Placement                Need                                           0             1
                                       No Referral Made by DCF during
 Maintaining Family Ties               the period under review                        1             0
                                       Service Does Not Exist in local
 Medically Fragile Supports/Services   community                                      1             0
 Medication Management - Child         Client Refused Service                         1             0
 Medication Management - Child         Delay in Referral by SW                        0             1
 Medication Management - Child         Placed on Wait List                            0             1
 Medication Management - Parent        Client Refused Service                         0             2
 Mental Health Screening or
 Evaluation - Child                    Placed on Wait List                            1             0
 Mental Health Screening or            No Service Identified to Meet this
 Evaluation - Child                    Need                                           1             1
                                       DCF Failed to Properly Assess
                                       Child/Family Member related to
 Mental Health Screening or            this need during the period under
 Evaluation - Child                    review                                         1             0
 Mental Health Screening or
 Evaluation - Child                    Client Refused Service                         0             1
 Mental Health Screening or            No Referral Made by DCF during
 Evaluation - Child                    the period under review                        0             1
 Mental Health Screening or            Service Deferred Pending
 Evaluation - Child                    Completion of Another                          0             1
 Mental Health Screening or
 Evaluation - Parent                   Client Refused Service                         6             6
 Mental Health Screening or            No Service Identified to Meet this
 Evaluation - Parent                   Need                                           1             1
 Mentoring                             Client Refused Service                         2             0
 Mentoring                             Placed on Wait List                            0             1
 Other Medical Intervention:
 Orthopedist                           Delay in Referral by SW                        0             1
 Other OOH Service - Legal             Neglect Petitions not filed                    1             0
                                       Child in care 3+ years with no TPR
 Other OOH Service - Legal             or exception filed                             1             0
                                       Delay in Filing TPR/No TPR filed
 Other OOH Service - Legal             during the period under review                 0             2
 Other OOH Service - Legal             Delays in filing PTOG/STOG                     0             2




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                                                                       2nd Quarter 3rd Quarter
 Need                                   Identified Barrier                   2019        2019
 Other State Agency Program (DDS,       No Referral Made by DCF during
 DMHAS, MSS)                            the period under review                  1           0
 Other State Agency Program (DDS,
 DMHAS, MSS)                            Client Refused Service                   0           1
 Outpatient Substance Abuse
 Treatment - Parent                     Client Refused Service                   8           5
 Parenting Classes                     Client Refused Service               1               0
                                       No Referral Made by DCF during
 Parenting Classes                     the period under review              1               0
 Parenting Classes                     Client Refused Service               1               0
                                       Service Deferred Pending
 Parenting Classes                     Completion of Another                0               1
                                       Service Deferred Pending
 Parenting Groups                      Completion of Another                1               0
 Parenting Groups                      Client Refused Service               0               2
 Problem Sexual Behavior Evaluation    Client Refused Service               1               0
 Psychiatric Hospitalization - Child   No Slots Available                   1               0
 Psychiatric Hospitalization - Child   Placed on Wait List                  0               1
 Psychological or Psychosocial
 Evaluation - Child                    Client Refused Service               1               0
 Psychological or Psychosocial
 Evaluation - Parent                   Client Refused Service               1               0
 Psychological or Psychosocial
 Evaluation - Parent                   Other - Determination of Court       1               0
                                       No Referral Made by DCF during
 Relative Foster Care                  the period under review              1               0
 Relative Foster Care                  Other: Delay in Licensing            0               1
                                       Other: Identified Relative
 Relative Foster Care                  Unwilling to Foster                  0               1
                                       No Service Identified to Meet this
 Residential Facility                  Need                                 1               0
 Substance Abuse Screening - Child     Client Refused Service               1               0
                                       No Referral Made by DCF during
 Substance Abuse Screening - Child     the period under review              1               0
 Substance Abuse Screening - Parent    Client Refused Service               5               5
 Substance Abuse Screening - Parent    Delay in Referral by SW              1               1
                                       No Service Identified to Meet this
 Substance Abuse Screening - Parent    Need                                 1               0
                                       No Referral Made by DCF during
 Substance Abuse Screening - Parent    the period under review              0               1
 Supportive Housing for Recovering
 Families                              Placed on Wait List                  2               0
 Supportive Housing for Recovering     No Service Identified to Meet this
 Families                              Need                                 1               0
                                       DCF Failed to Properly Assess
                                       Child/Family Member related to
 Supportive Housing for Recovering     this need during the period under
 Families                              review                               1               0
 Supportive Housing for Recovering
 Families                              UTD from Case Plan or Narratives     0               1

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                                                                  2nd Quarter     3rd Quarter
 Need                                   Identified Barrier               2019            2019
 SW/Child Visitation                         Delays in Visitation                             1            4
                                             DCF Failed to Properly Assess
                                             Child/Family Member related to
                                             this need during the period under
 SW/Child Visitation                         review                                           1            4
 SW/Parent Visitation                        Client Refused Service                           1            2
                                             Area Office did not Respond to
 SW/Parent Visitation                        reviewer request for clarification               1            0
                                             DCF Failed to Properly Assess
                                             Child/Family Member related to
                                             this need during the period under
 SW/Parent Visitation                        review                                           1            4
 SW/Parent Visitation                        Delays in Visitation                             0            6
 SW/Parent Visitation                        UTD from Case Plan or Narratives                 0            2
                                             Referred Service Unwilling to
 VNA Services                                Engage Client                                    1            0
      Total Unmet Needs Identified                                                          157           168


In looking at discussion of the unmet needs identified within the six-month planning cycle
reviewed, reviewers noted that most cases addressed all (42.1%) or some (26.2%) of these needs
in the approved plan going forward.
There are a total of 7 cases in which needs and services unmet during the prior period were
discussed at the ACR but were not addressed in the current approved case plan.



                 Were all needs and services unmet during the prior six months discussed at the ACR
                     and, as appropriate, incorporated as action steps on the current case plan?

                                                             Frequency      Frequency     Semi-
                  Need Unmet Incorporated into the
                        Current Case Plan
                                                                2nd            3rd       Annual
                                                              Quarter        Quarter    Frequency
                Yes - All                                              21          24              45
                Yes - Partially                                        14          14              28
                No - None                                               4           3                 7
                N/A - There are no Unmet Needs                          7           9              16
                N/A - this is the initial plan                          7           4              11
                Total                                                  53          54             107



In looking at the recurrence of unmet needs across consecutive planning cycles, the review found
that during each quarter there were 21 cases (39.6%) identifying the same unmet need carrying
across the two planning case planning cycles.



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Reviewers also noted that there continue to be discrepancies between issues noted in the case
record (or identified at the ACR) and those incorporated into the case plan. This occurred related
to 47 needs during the Second Quarter and 36 needs during the Third Quarter. This does not
mean that the agency was not working on addressing the priority need, but rather that the case
plan failed to accurately identify the priority need for the families as evidenced by the
documentation or noted at ACR.




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                          JUAN F. ACTION PLAN MONITORING REPORT

                                                 November 2019

This report includes data relevant to the permanency and placement issues and action steps
embodied within the Action Plan. Data provided comes from the monthly point-in-time
information from LINK and the Chapin Hall database.

A. PERMANENCY ISSUES

Progress Towards Permanency:

The following table developed using the Chapin Hall database provides a longitudinal view of
permanency for annual admission cohorts from 2006 through 2019.
 Figure 1: Children Exiting With Permanency, Exiting Without Permanency, Unknown Exits and
 Remaining In Care (Entry Cohorts)
                                            Period of Entry to Care
           200    200    200   200   201   201     201   201    201   201   201   201    201              201
            6      7      8     9     0      1      2      3      4    5     6     7      8                9
 Total
           3408   2853   2829  2628  2694   2298   1859   2005   1929 1988  2257  2082   2357             1652
 Entries


 In 1 yr    1262   1095    1098    1093   1025    707     560    535    499    427    566    542
            37.0   38.4    38.8    41.6   38.0    30.8   30.1   26.7   25.9   21.5   25.1   25.9
              %      %       %       %      %       %      %      %      %      %      %      %
  In 2      1972   1675    1676    1582   1378    1052    857    841    791    754    903
   yrs      57.9   58.7    59.2    60.2   51.2    45.8   46.1   41.9   41.0   37.9   40.0
              %      %       %       %      %       %      %      %      %      %      %
  In 3      2324   1974    1943    1792   1676    1245   1035   1072   1000    972
   yrs      68.2   69.2    68.7    68.2   62.2    54.2   55.7   53.5   51.8   48.9
              %      %       %       %      %       %      %      %      %      %
  In 4      2500   2090    2033    1895   1780    1357   1119   1159   1111
   yrs      73.4   73.3    71.9    72.1   66.1    59.1   60.2   57.8   57.6
              %      %       %       %      %       %      %      %      %
   To       2622   2174    2121    1953   1851    1436   1160   1211   1160   1082   1191    836    571    182
  Date      76.9   76.2     75.0   74.3   68.7    62.5   62.4   60.4   60.1   54.4   52.8   40.2   24.2   11.0
              %      %        %      %      %       %      %      %      %      %      %      %      %      %
                                             Non-Permanent Exits
 In 1 yr     259    263     250     208    196    138      95    125    111     95     68     62
            7.6%   9.2%    8.8%    7.9%   7.3%   6.0%    5.1%   6.2%   5.8%   4.8%   3.0%   25.9
                                                                                              %
  In 2       345    318     320     267    243    188     146    182    140    124     89
   yrs      10.1   11.1     11.3   10.2   9.0%   8.2%    7.9%   9.1%   7.3%   6.2%   3.9%
              %      %        %      %
  In 3       401    354      363    300    275    220     190    218    157    156
   yrs      11.8   12.4     12.8   11.4   10.2   9.6%    10.2   10.9   8.1%   7.8%
              %      %        %      %      %              %      %
  In 4       449    392      394    328    309    257     218    236    176
   yrs      13.2   13.7     13.9   12.5   11.5    11.2   11.7   11.8   9.1%
              %      %        %      %      %       %      %      %
   To        553    468      476    408    385     303    255    277    200    182    116     98     92     42
  Date      16.2   16.4     16.8   15.5   14.3    13.2   13.7   13.8   10.4   9.2%   5.1%   4.7%   3.9%   2.5%
              %      %        %      %      %       %      %      %      %


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                                               Period of Entry to Care
            200    200     200    200     201 201    201    201    201 201 201 201 201   201
             6      7       8       9      0   1      2      3      4   5   6   7   8     9
                                              Unknown Exits
 In 1 yr      76     61     60     75    127    205     133     101     112    197   252    245
            2.2%   2.1%   2.1%   2.9%   4.7%   8.9%    7.2%   5.0%     5.8%   9.9%   11.2   11.9
                                                                                       %      %
  In 2       117     97     91    139    303    399     254     310     341    432    501
   yrs      3.4%   3.4%   3.2%   5.3%   11.2    17.4   13.7     15.5   17.7   21.7   22.2
                                          %       %      %        %      %      %      %
  In 3       140    123    125    192    380     475    336      397    442    532
   yrs      4.1%   4.3%   4.4%   7.3%   14.1    20.7   18.1     19.8   22.9   26.8
                                          %       %      %        %      %      %
  In 4       167    155    167    217    399     499    375      443    478
   yrs      4.9%   5.4%   5.9%   8.3%   14.8    21.7   20.2     22.1   24.8
                                          %       %      %        %      %
   To        225    206    214    252    438     537    417      475    494    575   652    569    384      70
  Date      6.6%   7.2%   7.6%   9.6%   16.3    23.4   22.4     23.7   25.6   28.9   28.9   27.3   16.3   4.2%
                                          %       %      %        %      %      %      %      %      %
                                               Remain In Care
 In 1 yr    1811   1434   1421   1252   1346   1248    1071   1244     1207   1269   1371   1233
            53.1   50.3   50.2   47.6   50.0    54.3   57.6     62.0   62.6   63.8   60.7   59.2
              %      %      %      %      %       %      %        %      %      %      %      %
  In 2       974    763    742    640    770     659    602      672    657    678    764
   yrs      28.6   26.7   26.2   24.4   28.6    28.7   32.4     33.5   34.1   34.1   33.9
              %      %      %      %      %       %      %        %      %      %      %
  In 3       543    402    398    344    363     358    298      318    330    328
   yrs      15.9   14.1   14.1   13.1   13.5    15.6   16.0     15.9   17.1   16.5
              %      %      %      %      %       %      %        %      %      %
  In 4       292    216    235    188    206     185    147      167    164
   yrs      8.6%   7.6%   8.3%   7.2%   7.6%   8.1%    7.9%   8.3%     8.5%

   To          8      5     18     15     20     22      27      42      75    149   298    579    1310   1358
  Date      0.2%   0.2%   0.6%   0.6%   0.7%   1.0%    1.5%   2.1%     3.9%   7.5%   13.2   27.8   55.6   82.2
                                                                                       %      %      %      %



The following graphs show how the ages of children upon their entry to care, as well as at the
time of exit, differ depending on the overall type of exit (permanent or non-permanent).




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FIGURE 2: CHARACTERISTICS OF CHILDREN EXITING WITH AND WITHOUT PERMANENCY (2018 EXIT COHORT)

                                                     Age at Entry
                      Exited with Permanent Family                  Exited without Permanent Family




                                                     Age at Exit
                  Exited with Permanent Family                      Exited without Permanent Family




Permanency Goals:

The following chart illustrates and summarizes the number of children (which excludes youth
ages 18 and older) at various stages of placement episodes, and provides the distribution of
Permanency Goals selected for them.




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FIGURE 3: DISTRIBUTION OF PERMANENCY GOALS ON THE PATH TO PERMANENCY (CHILDREN IN
          CARE ON NOVEMBER 4, 20194)


Is the child legally free (his or her parents’ rights have been terminated)?
Yes               No
563
Goals of:
                  ↓   3129

    524 (93%)     Has  the child been in care more than 15 months?
    Adoption      No                   Yes
     29 (5%)
     OPPLA
                  1990
                                     ↓   1139

      7 (1%)                           Has a TPR proceeding been filed?
                                       Yes                  No
   Transfer of
  Guardianship
                                       253
                                       Goals of:
                                                          ↓    886
      3 (1%)
                                            201 (79%)       Is a reason documented not to file TPR?
  Reunification                                             Yes                                           No
                                             Adoption
                                             24 (9%)        209                                           677
                                        Trans. of Guardian: Goals of:             Documented Reasons: Goals of:
                                            Sub/Unsub              85 (41%)                 49%                259 (38%)
                                             21 (8%)         Trans.  of Guardian:   Compelling   Reason    Trans. of Guardian:
                                             Reunify              Sub/Unsub                 68%                Sub/Unsub
                                              5 (2%)               75 (36%)         Petition in process        188 (28%)
                                             OPPLA                 Adoption                 30%                 Reunify
                                              2 (1%)               31 (15%)        Child is with relative      167 (25%)
                                               Blank                Reunify                 9%                  Adoption
                                                                    18 (9%)        Services not provided        59 (9%)
                                                                    OPPLA                                       OPPLA
                                                                                                                 4 (1%)
                                                                                                                  Blank




Preferred Permanency Goals:

                                                          Aug         Nov         Feb         May         Aug         Nov
    Reunification                                         2018        2018        2019        2019        2019        2019
    Total number of children with Reunification           1615        1587        1673        1589        1557        1501
    goal, pre-TPR and post-TPR
    Number of children with Reunification goal            1614        1586        1671        1588        1557        1498
    pre-TPR
        • Number of children with                         283         256         278          237         251         240
             Reunification goal, pre-TPR, >= 15
             months in care
        • Number of children with                          29          30          29          25          26           35
             Reunification goal, pre-TPR, >= 36
             months in care
    Number of children with Reunification goal,             1           1           2           1           0           3
    post-TPR


4
    Children over age 18 are not included in these figures.
                                                                                                                             43
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 Transfer of Guardianship (Subsidized and         Aug    Nov    Feb    May    Aug      Nov
 Non-Subsidized)                                  2018   2018   2019   2019   2019     2019
 Total number of children with Transfer of        558    558    567     604    585     636
 Guardianship goal (subsidized and non-
 subsidized), pre-TPR and post TPR
 Number of children with Transfer of              548    548    560    592     574     629
 Guardianship goal (subsidized and non-
 subsidized), pre-TPR
     • Number of children with Transfer of        223    230    225    214     181     196
          Guardianship goal (subsidized and
          non-subsidized , pre-TPR, >= 22
          months)
     • Number of children with Transfer of         63     64     68     81     73       71
          Guardianship goal (subsidized and
          non-subsidized), pre-TPR , >= 36
          months)
 Number of children with Transfer of               10     10     7      12     11       7
 Guardianship goal (subsidized and non-
 subsidized), post-TPR


 Adoption                                         Aug    Nov    Feb    May    Aug      Nov
                                                  2018   2018   2019   2019   2019     2019
 Total number of children with Adoption goal,     1198   1249   1189   1257   1266     1224
 pre-TPR and post-TPR
 Number of children with Adoption goal, pre-      626    675    689    714     717     700
 TPR
 Number of children with Adoption goal, TPR       194    207    225    237     229     242
 not filed, >= 15 months in care
      • Reason TPR not filed, Compelling           9      10     10     10     11       6
           Reason
      • Reason TPR not filed, petitions in         31     29     30     30     39       61
           progress
      • Reason TPR not filed , child is in         8      5      2      4       6       6
           placement with relative
      • Reason TPR not filed, services             3      1      4      4       1       2
           needed not provided
      • Reason TPR not filed, blank               143    162    179    189     172     167
 Number of cases with Adoption goal post-TPR      572    574    500    543     549     524
      • Number of children with Adoption          552    541    471    504     515     497
           goal, post-TPR, in care >= 15 months
      • Number of children with Adoption          473    483    414    417     434     415
           goal, post-TPR, in care >= 22 months
 Number of children with Adoption goal, post-      14     14     9      6       7       9
 TPR, no barrier, > 3 months since TPR
 Number of children with Adoption goal, post-      42     39     27     30     29       22
 TPR, with barrier, > 3 months since TPR
 Number of children with Adoption goal, post-     361    317    251    246     315     271
 TPR, with blank barrier, > 3 months since
 TPR




                                                                                             44
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 Progress Towards Permanency:               Aug     Nov      Feb      May      Aug      Nov
                                            2018   2018     2019     2019     2019     2019
 Total number of children, pre-TPR, TPR not  686    667      725      653      645      677
 filed, >=15 months in care, no compelling
 reason

Non-Preferred Permanency Goals:

                                                 Aug           Nov          Feb         May        Aug     Nov
 Long Term Foster Care Relative:                 2018          2018         2019        2019       2019    2019
 Total number of children with Long Term          0             0             0          0          0       0
 Foster Care Relative goal
 Number of children with Long Term Foster            0             0          0           0         0       0
 Care Relative goal, pre-TPR
     • Number of children with Long Term             0             0          0           0         0       0
         Foster Care Relative goal, 12 years
         old and under, pre-TPR
 Long Term Foster Care Rel. goal, post-TPR           0             0          0           0         0       0
     • Number of children with Long Term             0             0          0           0         0       0
         Foster Care Relative goal, 12 years
         old and under, post-TPR


                                                     Aug           Nov           Feb      May       Aug    Nov
 OPPLA                                               2018          2018          2019     2019      2019   2019
 Total number of children with OPPLA goal             129           113           107     117        131    136
 Number of children with OPPLA goal, pre-TPR           97           86             80      92        104    107
     • Number of children with OPPLA goal,              0            0             0       0          0      0
         12 years old and under, pre-TPR
 Number of children with OPPLA goal, post-TPR            32            27         27          25     27     29
     • Number of children with OPPLA goal,                0             0         0           0      0       0
         12 years old and under, post-TPR


Missing Permanency Goals:

                                                Aug           Nov           Feb         May        Aug     Nov
                                                2018          2018          2019        2019       2019    2019
 Number of children, with no Permanency          15            17            13          11         16      21
 goal, pre-TPR, >= 2 months in care
 Number of children, with no Permanency          8             6             4           7          8       13
 goal, pre-TPR, >= 6 months in care
 Number of children, with no Permanency          6             4             2           4          0       6
 goal, pre-TPR, >= 15 months in care
 Number of children, with no Permanency          3             2             2           1          0       4
 goal, pre-TPR, TPR not filed, >= 15 months
 in care, no compelling reason




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B. PLACEMENT ISSUES

Placement Experiences of Children

The following chart shows the change in use of family and congregate care for admission cohorts
between 2006 and 2019.




The next table shows specific care types used month-by-month for entries between October 2018
and September 2019.
                                                                                             Case S u m m aries
First placement
type                  enterOct18       enterNov18       enterDec18       enterJan19       enterFeb19       enterMar19       enterApr19       enterMay19       enterJun19       enterJul19       enterAug19       enterSep19
Residential       N                                 1                4                3                2                4                4                2                1                3                2                1
                  %                            0.5              2.6               1.7             1.4               1.9              2.4             1.1               0.5              1.7             1.0              0.6
DCF Facilities    N                                 1                                                                                                     3                                 3                                 1
                  %                            0.5                                                                                                   1.6                                1.7                              0.6
Foster Care       N           102              101               56              100               70              123               79              107               94              106               84               79
                  %          51.5             47.0             36.6             55.2             47.6              57.5            46.5             56.3             46.8              60.2            42.6             44.9
Group Home        N                1                                 1                1                                 1                1                2                1                1                2                2
                  %           0.5                               0.7               0.6                               0.5              0.6             1.1               0.5              0.6             1.0              1.1
Relative Care     N            64               76               61               52               60               63               58               47               73               46               81               72
                  %          32.3             35.3             39.9             28.7             40.8              29.4            34.1             24.7             36.3              26.1            41.1             40.9
Medical           N                5            10                   4                2                3                7                5                3            13                   2                3                3
                  %           2.5              4.7              2.6               1.1             2.0               3.3              2.9             1.6               6.5              1.1             1.5              1.7
Safe Home         N                3                4                4                4                2                4                3                6                6                3                6                3
                  %           1.5              1.9              2.6               2.2             1.4               1.9              1.8             3.2               3.0              1.7             3.0              1.7
Shelter           N                2                4                4                6                2                5                5            10                   2                2                3                2
                  %           1.0              1.9              2.6               3.3             1.4               2.3              2.9             5.3               1.0              1.1             1.5              1.1
Special Study     N            21               18               19               13                   8                7            15               10               11               10               16               13
                  %          10.6              8.4             12.4               7.2             5.4               3.3              8.8             5.3               5.5              5.7             8.1              7.4
Total             N           198              215              153              181              147              214              170              190              201              176              197              176
                  %         100.0            100.0            100.0            100.0            100.0             100.0           100.0            100.0            100.0            100.0            100.0            100.0




                                                                                                                                                                                                       46
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The chart below shows the change in level of care usage over time for different age groups.




                                                                                              47
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It is also useful to look at where children spend most of their time in DCF care. The chart below
shows this for admission of the 2006 through 2019 admission cohorts.




The following chart shows monthly statistics of children who exited from DCF placements
between October 2018 and September 2019, and the portion of those exits within each placement
type from which they exited.
                                                                            C ase S u m m aries

Last placement type in
spell (as of censor date)   exitOct18   exitNov18   exitDec18   exitJan19   exitFeb19    exitMar19       exitApr19   exitMay19   exitJun19   exitJul19    exitAug19   exitSep19
    Residential    N                4                       3           4            2              4            1           8           1           3            3           1
                   %              2.3                     1.8         2.4          1.5             2.5         0.5         4.3         0.5          1.8         1.4         0.7
    DCF            N                1                       2                        1              2                                                 1
    Facilities     %              0.6                     1.2                      0.7             1.2                                              0.6
    Foster Care N                  77         121          66          70           58             59           84          74         100          74          103          76
                   %             44.3        49.4        39.5        41.7         43.3            36.2        45.2        39.8        53.2        44.8         48.1        51.7
    Group Home N                    4           6           4           7            6              2            5           3           4           1            2           3
                   %              2.3         2.4         2.4         4.2          4.5             1.2         2.7         1.6         2.1          0.6         0.9         2.0
    Independent N                   2           2           5           2            3              4            5           5                       2                        3
    Living      %                 1.1         0.8         3.0         1.2          2.2             2.5         2.7         2.7                      1.2                     2.0
    Relative       N               62          83          66          64           56             67           71          72          67          59           79          55
    Care           %             35.6        33.9        39.5        38.1         41.8            41.1        38.2        38.7        35.6        35.8         36.9        37.4
    Medical        N                1           8           6           1            2              2            3                       1                        3
                   %              0.6         3.3         3.6         0.6          1.5             1.2         1.6                     0.5                      1.4
    Safe Home      N                1           1           3           1            1              1            2           1           4           2            2
                   %              0.6         0.4         1.8         0.6          0.7             0.6         1.1         0.5         2.1          1.2         0.9
    Shelter        N                4           4           5           3            1              4            5           9           3           4            4           4
                   %              2.3         1.6         3.0         1.8          0.7             2.5         2.7         4.8         1.6          2.4         1.9         2.7
    Special        N               17          19           6          14            3             16           10          12           8          15           14           4
    Study          %              9.8         7.8         3.6         8.3          2.2             9.8         5.4         6.5         4.3          9.1         6.5         2.7
    Uknown         N                1           1           1           2            1               2                       2                        4           4           1
                   %              0.6         0.4         0.6         1.2          0.7             1.2                     1.1                      2.4         1.9         0.7
    Total          N              174         245         167         168          134            163          186         186         188         165          214         147
                   %            100.0       100.0       100.0       100.0        100.0        100.0          100.0       100.0       100.0       100.0        100.0       100.0


                                                                                                                                                                 48
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The next chart shows the primary placement type for children who were in care on November 4,
2019 organized by length of time in care.
                                    P ri m ary typ e of sp el l ( >50% ) * D u rati on C ateg ory C rosstab u l ati on

                                                                                       Duration Category

                                1   <= durat < 30   30 <= durat < 90    90 <= durat < 180    180 <= durat < 365   365 <= durat < 545   545 <= durat < 1095   more than 1095   Total
Primary   Residential   Count                   2                  3                  26                    55                   68                 109                 75       338
type of                 % Row               0.6                 0.9                  7.7                 16.3                 20.1                 32.2              22.2          100.0
spell
                        % Col               0.2                 0.4                  3.7                  6.1                 10.5                  8.6                5.8             4.9
(>50%)
          DCF           Count                 1                   3                    4                   14                     7                   4                  6              39
          Facilities    % Row               2.6                 7.7                10.3                  35.9                 17.9                 10.3              15.4          100.0
                        % Col               0.1                 0.4                  0.6                  1.6                   1.1                 0.3                0.5             0.6
          Foster Care   Count                15                  38                   96                  283                  261                  625               753           2071
                        % Row               0.7                 1.8                  4.6                 13.7                 12.6                 30.2              36.4          100.0
                        % Col               1.2                 4.9                13.8                  31.4                 40.3                 49.2              58.7            30.3
          Group         Count                 2                   3                   11                   32                   44                   96                 93            281
          Home          % Row               0.7                 1.1                  3.9                 11.4                 15.7                 34.2              33.1          100.0
                        % Col               0.2                 0.4                  1.6                  3.6                   6.8                 7.6                7.2             4.1
          Independent   Count               0.0                 0.0                  1.0                    6                     2                   7                 16              32
          Living        % Row               0.0                 0.0                  3.1                 18.8                   6.3                21.9              50.0          100.0
                        % Col               0.0                 0.0                  0.1                  0.7                   0.3                 0.6                1.2             0.5
          Relative      Count                 9                  28                   58                  133                  129                  219                 69            645
          Care          % Row               1.4                 4.3                  9.0                 20.6                 20.0                 34.0              10.7          100.0
                        % Col               0.7                 3.6                  8.4                 14.8                 19.9                 17.2                5.4             9.4
          Medical       Count                 0                   2                    0                    9                     4                   3                  0              18
                        % Row               0.0               11.1                   0.0                 50.0                 22.2                 16.7                0.0         100.0
                        % Col               0.0                 0.3                  0.0                  1.0                   0.6                 0.2                0.0             0.3
          Mixed (none   Count                 1                  10                   19                   33                   41                  103               222             429
          >50%)         % Row               0.2                 2.3                  4.4                  7.7                   9.6                24.0              51.7          100.0
                        % Col               0.1                 1.3                  2.7                  3.7                   6.3                 8.1              17.3              6.3
          Safe Home     Count               842                368                  256                   177                   34                   30                  5          1712
                        % Row              49.2               21.5                 15.0                  10.3                   2.0                 1.8                0.3         100.0
                        % Col              67.2               47.1                 36.9                  19.6                   5.3                 2.4                0.4           25.1
          Shelter       Count               380                318                  203                   116                   31                   17                  1          1066
                        % Row              35.6               29.8                 19.0                  10.9                   2.9                 1.6                0.1         100.0
                        % Col              30.3               40.7                 29.3                  12.9                   4.8                 1.3                0.1           15.6
          Special       Count                 0                   4                   15                   39                   22                   49                 35            164
          Study         % Row               0.0                 2.4                  9.1                 23.8                 13.4                 29.9              21.3          100.0
                        % Col               0.0                 0.5                  2.2                  4.3                   3.4                 3.9                2.7             2.4
          Unknown       Count                 1                   5                    5                    4                     4                   9                  8              36
                        % Row               2.8               13.9                 13.9                  11.1                 11.1                 25.0              22.2          100.0
                        % Col               0.1                 0.6                  0.7                  0.4                   0.6                 0.7                0.6             0.5
T otal                  Count                1253                782                  694                   901                  647                  1271             1283          6831

                        % Row                18.3                11.4                 10.2                 13.2                  9.5                  18.6             18.8          100.0

                        % Col               100.0              100.0                100.0                 100.0                100.0                100.0             100.0          100.0




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Congregate Care Settings

 Placement Issues                                                                          Aug                   Nov           Feb              May            Aug        Nov
                                                                                           2018                  2018          2019             2019           2019       2019
 Total number of children 12 years old and under, in                                          15                  17                17             11           15         15
 Congregate Care
      •     Number of children 12 years old and under, in DCF                                   0                 1                 1              1            0          0
            Facilities
      •     Number of children 12 years old and under, in Group                                 7                 4                 4              4            4          3
            Homes
      •     Number of children 12 years old and under, in                                       7                 8                 7              5            7          8
            Residential
      •     Number of children 12 years old and under, in Safe                                  1                 4                 5              1            2          3
            Home or SFIT
      •     Number of children 12 years old and under in Shelter                            0                     0                0                0           2          1
 Total number of children ages 13-17 in Congregate                                         233                   218              209              202         188        170
 Placements


Use of SAFE Homes, Shelters and PDCs
The analysis below provides longitudinal data for children (which may include youth ages 18 and older)
who entered care in Safe Homes, Permanency Diagnostic Centers and Shelters.

                                                                             Period of Entry to Care
                         2006         2007      2008    2009       2010        2011        2012        2013        2014       2015       2016       2017        2018      2019
 Total Entries               3408      2853     2829    2627       2693        2298        1859        2005        1929       1990       2261       2082        2358       541
 SAFE Homes/SFIT             396       382       335       471         331         145          68          56          30          9         23         54          54     37
                             12%       13%       12%      18%      12%             6%         4%          3%           2%      0%          1%            3%         2%     7%
        Shelters              114       136       144      186      175            194        169         175           91      58          53            35         45     37
                             3%        5%        5%        7%          6%          8%         9%          9%           5%      3%          2%            2%         2%     7%
          Total              510       518       479       657         506         339        237         231          121      67          76            89         99     74
                             15%       18%       17%      25%      19%          15%        13%         12%             6%      3%          3%            4%         4%     14%


                                                                         Period of Entry to Care
                      200       200       200       200          201         201         201         201         201         201         201        201         201       201
                       6         7         8         9            0           1           2           3           4           5           6          7           8         9
 Total Initial
                       510      518       479       657          506         339         237         231          121        67          76            89        99        74
 Plcmnts
                       186      162       150       229          135         103         60          63           37         28          28            36        56        48
 <= 30 days
                      36.5      31.3      31.3      34.9     26.7            30.4        25.3        27.3        30.6        41.8        36.8       40.4        56.6      64.9
                       %         %         %         %        %               %           %           %           %           %           %          %           %         %
                       73        73       102       110      106              56          44          41          27          9           13         25          15        8
 31 - 60
                      14.3      14.1      21.3      16.7     20.9            16.5        18.6        17.7        22.3        13.4        17.1       28.1        15.2      10.8
                       %         %         %         %        %               %           %           %           %           %           %          %           %         %
                       87        79        85       157       91              54          39          38          18          8           8          12          8         5
 61 - 91
                      17.1      15.3      17.7      23.9     18.0            15.9        16.5        16.5        14.9        11.9        10.5       13.5        8.1%      6.8%
                       %         %         %         %        %               %           %           %           %           %           %          %
                      118       131       110       124      136              84          56          57          24          15          17         10          14        12
 92 - 183
                      23.1      25.3      23.0      18.9     26.9            24.8        23.6        24.7        19.8        22.4        22.4       11.2        14.1      16.2
                       %         %         %         %        %               %           %           %           %           %           %          %           %         %
                       46        73        32        37       38              42          38          32          15          7           10         6           6         1
 184+                 9.0%      14.1     6.7%       5.6%     7.5%            12.4        16.0        13.9        12.4        10.4        13.2       6.7%        6.1%      1.4%
                                 %                                            %           %           %           %           %           %




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The following is the point-in-time data taken from the monthly LINK data, and may include
those youth ages 18 and older.

 Placement Issues                               May       Aug       Nov      Feb    May    Aug    Nov
                                                2018      2018      2018     2019   2019   2019   2019
 Total number of children in SAFE                17        13        9        10     11     9      9
 Home/SFIT
      •   Number of children in SAFE             14        5         4        4      3      4      5
          Home/SFIT, > 60 days
      •   Number of children in SAFE             1         1         1        1      0      1      1
          Home/SFIT, >= 6 months
 Total number of children in STAR/Shelter        26        25        23       25     24     20     8
 Placement
      •   Number of children in                  14        13        12       15     7      8      7
          STAR/Shelter Placement, > 60 days
      •   Number of children in                  3         3         4        4      3      1      1
          STAR/Shelter Placement, >= 6
          months
 Total number of children in MH Shelter          0         0         0        0      0      0      0
      •   Total number of children in MH         0         0         0        0      0      0      0
          Shelter, > 60 days
      •   Total number of children in MH         0         0         0        0      0      0      0
          Shelter, >= 6 months



Time in Residential Care
 Placement Issues                                May       Aug       Nov     Feb    May    Aug    Nov
                                                 2018      2018      2018    2019   2019   2019   2019
 Total number of children in Residential care        82        93     91      86     89     87     82
      •   Number of children in Residential          27        29     21      21     23     24     23
          care, >= 12 months in Residential
          placement
      •   Number of children in Residential           0         0        0     0     0      0      0
          care, >= 60 months in Residential
          placement




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                        Appendix A
   Commissioner's Highlights from: The Department of
 Children and Families Exit Plan Outcome Measures-Status
                          Report
           (April 1, 2019 – September 30, 2019)




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February 2020
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          Commissioner Statement for Juan F v. Lamont Exit Plan Status Report
                          April 1, 2019 - September 30, 2019

This is such an exciting and promising time to work in child welfare in Connecticut! A number
of critical developments are underway with the potential to significantly improve how we partner
with providers to serve children and families in our state.

First, in the context of the Juan F. Exit Plan, I am pleased that the Court Monitor can "pre-
certify" that the Department has achieved maintaining caseload standards. This measure is truly
fundamental to all our work. Appropriate staffing equates to better safety decisions, risk
assessments and timely intervention for children and families. As we ask our social workers to
involve children, families and communities more fully as partners in our work, we must ensure
that staff have the necessary time and support to do so. Thus, reasonable caseloads are critically
important. Tremendous appreciation and thanks to Governor Lamont, the Office of Policy and
Management, and the Connecticut Legislature for their steady and substantial support this past
year.

This support and capacity comes at an important juncture as we work hard to fulfill the vision of
this new Administration. Our values are clear and simple:
    • Keep children safely at home whenever possible;
    • place children with relatives (including maternal and paternal family) to maintain kinship
       bonds, if they must enter state care and
    • if they cannot be safely placed with someone they know, children will be in a family
       through our strong networks of foster family homes.

We have also steadily reduced the use of institutional care for those children who require out of
home clinical treatment. Only 7.2 percent of children in care on January 1, 2020 were in
congregate or group care.

These were the goals I set out immediately upon assuming the role of Commissioner one year
ago. In less than one year, we have reduced the number of children in state care by almost 6
percent while at the same time increasing the share of children living with relatives and kin. I
am very proud of the work of our staff in making significant progress in each of these areas.

Multidisciplinary assessments and Enhanced Service Coordination will serve to more accurately
identify root causes of familial strife and match to the appropriate services to address those
needs. The deployment of tablets and continued development of CT-KIND will enable improved
documentation and data collection efforts through technology. Supervision of all staff regardless
of position or function is also a priority focus with an emphasis on the more consistent utilization
of Structured Decision Making tools related to safety and risk factors.

During this period under review, the department participated in the Statewide Advisory Council's
(SAC) annual retreat. Throughout this forum our aspirational targets were solidified through
feedback heard from partners including youth, family advocates, providers, sister state agencies,
and legislative representatives. This forum served to emphasize our desire to be inclusive of all
voices as we continue to collaborate in improving outcomes for children.

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The Department has also begun, in earnest, the planning stages of developing our CT state plan
in response to the federal Family First Prevention Services Act. DCF hosted a standing-room-
only kickoff in November 2019 which was attended by our child welfare system partners. Since
that event, over 200 stakeholders have been participating on five distinct Family First
workgroups. The provisions of Family First are a part of the framework in an overall prevention
strategy. For CT's children and families to benefit from Family First, stakeholder involvement is
absolutely vital in the state plan development. We are excited to be a galvanizing element on
this team approach to fully engaged communities in empowering families to raise resilient
children who thrive!

We, at DCF, are committed to continuing progress. To that end, in early January the DCF
Executive team held a statewide summit for our leadership teams from all 14 area offices,
facilities and central office divisions to clearly focus the department's vision for 2020. We were
fortunate to have Dr. Jerry Milner, Acting Commissioner of the Administration for Children and
Families, a division of the United States Department of Health and Human Services, offer an
inspiring and energizing keynote about the necessity to expand prevention efforts in child
welfare, including opportunities within Family First. Dr. Milner's invigorating presentation is in
concert with this Administration's vision for the child welfare system in Connecticut. The
summit was a wonderful opportunity to reinforce our common values of keeping children safely
at home, and re-aligning our services to ensure the highest risk populations have their needs met.

We greatly appreciate the work of the Office of the Court Monitor and the Federal Court in
supporting our steadfast efforts towards approaching an exit from Juan F. I again thank the
Connecticut General Assembly and the Lamont Administration, including the Governor's Office,
the Office of Policy and Management and our sister state agencies. The department's executive
team is continually grateful to the DCF staff, who do great and difficult work each day. We
thank the thousands of partners in communities across Connecticut standing with us. Service
providers, educators, law enforcement officials, court personnel, medical providers and others
are all making fantastic contributions to our efforts to support children and families through
difficult times.

Most of all, we thank the children and families themselves for their active engagement in all our
efforts. They hold the answers, and we need to listen to continue to make our state a great place
for all of us to live.




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